Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00   Desc:
                           Exhibit N Page 1 of 43



                                   Exhibit N

                                NATIONAL PSA
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                           Desc:
                           Exhibit N Page 2 of 43
                                                                                  EXECUTION COPY



                            PREPA PLAN SUPPORT AGREEMENT

          PREPA PLAN SUPPORT AGREEMENT,dated as of January 31, 2023, by and among
  (a) Financial Oversight and Management Board for Puerto Rico (the"Oversight Board"          )
                                                                                              , on
   behalf of itself and as the sole Title III representative ofthe Puerto Rico Electric Power
   Authority("PREPA"), and (b)National Public Finance Guarantee Corporation, solely in its
   capacity as insurer and asserted holder, deemed holder, or subrogee with respect to PREPA
   Revenue Bonds(    "National", and also a"PSA Creditor"). The signatories hereto are referred to
   hereafter collectively as the"Parties"or individually as a"Party". Capitalized terms used but
   not otherwise defined herein shall have the meanings set forth below or in the Amended Plan (as
   defined below), as applicable.

                                             RECITALS

          A.     Pursuant to the authority granted pursuant to Act No. 83-1941, as amended,
  PREPA was established on May 2, 1941, a government instrumentality responsible for a unified
  electric system with the primary purpose of, among other things, ensuring the total electrification
  ofPuerto Rico.

         B.     In accordance with provisions of22 L.P.R.A. § 196(o) and that certain Trust
  Agreement, dated as of January 1, 1974, as has and may be amended, restated, supplemented or
  otherwise modified from time to time (the"Bond Trust Agreement"   ), between PREPA and
  U.S. Bank National Association, as successor trustee (the"Trustee"
                                                                   ),PREPA issued series of
  power revenue bonds and power revenue refunding bonds (collectively, the"PREPA Revenue
  Bonds" ),

          C.      As of July 2, 2017(the"PREPA Petition Date"), and as set forth on Exhibit"A"
  hereto, the outstanding principal amount ofthe PREPA Revenue Bonds is asserted to be Eight
  Billion Two Hundred Fifty-Eight Million Six Hundred Fourteen Thousand One Hundred Forty-
  Eight Dollars ($8,258,614,148.00).

         D.      In connection with the issuance of certain ofthe PREPA Revenue Bonds,
  National issued certain municipal bond insurance policies (the"Insurance Policies"
                                                                                   ), insuring
  the scheduled payment of principal of and interest accrued, One Billion Two Hundred Forty-Five
  Million Seven Hundred Eighty-Five Thousand Dollars ($1,245,785,000.00), in original principal
  amount ofthe PREPA Revenue Bonds.

           E.     In connection with the issuance ofthe Insurance Policies, PREPA entered into
  certain Agreements Regarding Bond Insurance (collectively, the"Insurance Agreements"       ),
  pursuant to which National asserts that PREPA agreed to, among other things, and to the extent
  that National made payments of principal and interest on or incurs any other costs with respect
  to, the Insured PREPA Revenue Bonds, PREPA would reimburse National, with interest, as the
  case may be, for any and all such payments, and costs (an"Asserted Reimbursement Claim"       )1.



        1 For the avoidance of doubt, neither the Asserted Reimbursement Claims nor the Settled
  Reimbursement Claim, each as defined below, include any Transferred Claims.

                                                  1
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                           Desc:
                           Exhibit N Page 3 of 43
                                                                                  EXECUTION COPY


         F.     On June 30, 2016, the Puerto Rico Oversight, Management, and Economic
 Stability Act was signed into law by the President ofthe United States (P.L. 114-187)
 (
 "PROMESA"      ).

          G.     PROMESA created the Oversight Board and provided the Oversight Board with
  certain powers over the finances and restructuring process with respect to, among others, the
  Commonwealth of Puerto Rico (the"Commonwealth"         )and its instrumentalities, including,
  without limitation, PREPA, all as provided for in PROMESA.

          H.     Pursuant to Act 2-2017, the Puerto Rico Fiscal Agency and Financial Advisory
  Authority( "AAFAF"    )was appointed as the agent of, and advisor to, the Government ofthe
  Commonwealth ofPuerto Rico (the"Government"        ), and granted authority with respect to the
  restructuring of any indebtedness issued by the Commonwealth and any governmental entity of
  the Commonwealth, including, without limitation, PREPA.

          I.      On the PREPA Petition Date, the Oversight Board filed a Title III petition on
  behalf ofPREPA (the"PREPA PROMESA Case"           )in the United States District Court for the
  District of Puerto Rico (the"Title III Court"
                                              ).

       J.   The Oversight Board is the sole Title III representative ofPREPA in the PREPA
  PROMESA Case pursuant to Section 315(b) ofPROMESA.

          K.      On July 1, 2019, the Oversight Board commenced an adversary proceeding
  against the Trustee, as amended (the"Adversary"    ), by filing a complaint, styled The Financial
  Oversight and Management Board for Puerto Rico v. U.S. Bank National Association, Adv.
  Proc. No. 19-00391-LTS, currently pending in the Title III Court, in which the Oversight Board
  asserts, among other claims and causes of action, that the Trustee's lien and security interest is
  limited to funds in certain deposit accounts held by the Trustee and that the Trustee's claims with
  respect to the PREPA Revenue Bonds are non-recourse to PREPA.

         L.      On December 16, 2022, PREPA filed that certain Title III Plan of Adjustment of
  Puerto Rico Electric Power Authority,(the"Initial Plan")[Dkt. No. 3110], in the Title III Court,
  and a corresponding disclosure statement(the"Initial Disclosure Statement"  )[Dkt. No. 3111].

         M.       National represents that, from and after the PREPA Petition Date and as of
  January 1, 2023, National has made payments of Two Hundred Twenty Six Million Four
  Hundred Sixty-Five Thousand Eight Hundred Fifty-Six Dollars and Twenty-Five Cents
 ($226,465,856.25)to holders ofInsured PREPA Revenue Bonds, on account of interest
  payments due and payable with respect thereto, as they may continue to accrue up to, but not
  including, the PREPA Effective Date, as defined below (the"Settled Reimbursement Claim"      )
                                                                                               .

          N.      The Parties, through mediation and direct interaction, have engaged in good faith,
  arm's-length negotiations, including, without limitation, regarding the terms ofa proposed
  restructuring ofthe PREPA Revenue Bonds and other claims held by National, including,
  without limitation, the Asserted Reimbursement Claims, to be implemented in a manner as set
  forth herein, including, without limitation, in accordance with the Settlement Summary annexed
  hereto as Exhibit "B".


                                                  2
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                            Desc:
                           Exhibit N Page 4 of 43
                                                                                 EXECUTION COPY



         0.      The Oversight Board consents to the execution and delivery ofthis Agreement by
  PREPA and to PREPA's performance and exercise of its respective rights under this Agreement,
  including, without limitation, the right to terminate this Agreement and right to consent to any
  waiver or amendment, in each case, in accordance with the terms and conditions set forth herein.

          NOW,THEREFORE,the Parties, in consideration ofthe promises and covenants herein
  described, acknowledged by each ofthem to be satisfactory and adequate, and intending to be
  legally bound, do hereby mutually agree as follows:

                                             ARTICLE I

                                           DEFINITIONS


          Section 1.1    Recitals. The recitals set forth above are incorporated by reference and
  are explicitly made a part of this Agreement.

          Section 1.2 Definitions. The following definitions shall apply to and constitute part of
  this Agreement and all schedules, exhibits and annexes hereto:

         "Agreement" shall mean this PREPA Plan Support Agreement, and each exhibit annexed
  hereto or thereto, including, without limitation, upon filing, the Settlement Summary annexed
  hereto as Exhibit "B", as may be amended, supplemented, or otherwise modified in accordance
  with the terms hereof or thereof.

         "Amended Plan" shall mean the Amended Title III Plan of Adjustment ofthe Puerto
  Rico Electric Power Authority, other than the First Amended Plan, to be filed by the Oversight
  Board with respect to PREPA after the date hereof in accordance with this Agreement, as it may
  be amended, modified, or supplemented, incorporating the terms and provisions of this
  Agreement, including, without limitation, the Settlement Summary.

             "Bankruptcy Code"shall mean Title 11 ofthe United States Code, as amended, §§101,
  et seq.

            "Bankruptcy Rules" shall mean the Federal Rules of Bankruptcy Procedure.

         "Business Day"shall mean a day other than a Saturday, a Sunday, or any other day on
  which commercial banks in New York, New York are required or authorized to close by law or
  executive order.

      "Commonwealth PROMESA Case" shall mean the case commenced under Title III of
  PROMESA in the Title III Court, Case No. 17-BK-3283-LTS.

          "CUSIP"shall mean the Committee on Uniform Securities Identification Procedures
  nine-digit numeric or nine-digit character alphanumeric code which, for purposes of this
  Agreement, identifies the series ofPREPA Revenue Bonds for the purposes of facilitating
  clearing and settlement oftrades.


                                                  3
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                            Desc:
                           Exhibit N Page 5 of 43
                                                                                   EXECUTION COPY


         "Custodial Trust Documents" shall mean, collectively, the trust agreements and other
  documents and instruments attendant to the custodial trusts to be created as ofthe PREPA
  Effective Date and relating to the National Insured Bonds and the distributions to be made in
  accordance with the Amended Plan.

        "CV/"shall mean a contingent value instrument which may be included in distributions
  to PREPA's creditors in accordance with the terms and provisions ofthe Amended Plan.

          "Face Amount"shall mean, solely for purposes of Article II hereof and the signature
  pages affixed hereto,(a) with respect to current interest PREPA Revenue Bonds, insured or
  uninsured, the outstanding principal amount of such PREPA Revenue Bonds as ofthe date of
  this Agreement, and (b) with respect to capital appreciation PREPA Revenue Bonds, insured and
  uninsured, the accreted value of such PREPA Revenue Bonds during the period up to, but not
  including, the PREPA Petition Date.

          "Final Order" shall mean an order or judgment of a court of competentjurisdiction that
  has been entered on the docket maintained by the clerk of such court and has not been reversed,
  vacated, or stayed and as to which (a)the time to appeal, petition for certiorari, or move for a
  new trial, reargument, or rehearing has expired and as to which no appeal, petition for certiorari,
  remand proceeding, or other proceedings for a new trial, reargument, or rehearing shall then be
  pending, or(b)if an appeal, writ of certiorari, new trial reargument, or rehearing thereof has been
  sought,(i) such order or judgment shall have been affirmed or reversed in part or in full, with no
  further proceedings on remand, by the highest court to which such order was appealed, certiorari
  shall have been denied, or a new trial, reargument, or rehearing shall have been denied or
  resulted in no modification of such order, and (ii) the time to take any further appeal, petition for
  certiorari, or move for a new trial, reargument, or rehearing shall have expired; provided,
  however,that the possibility that a motion under Rule 60 ofthe Federal Rules of Civil Procedure,
  or any analogous rule under the Bankruptcy Rules, may be filed relating to such order shall not
  prevent such order from being a Final Order, except as provided in the Federal Rules of
  Appellate Procedure, the Bankruptcy Rules, or the applicable local Bankruptcy Rules.

         "First Amended Plan"shall mean the First Amended Title III Plan of Adjustment ofthe
  Puerto Rico Electric Power Authority to be filed by the Oversight Board with respect to PREPA.

         "Fiscal Plan" shall mean a "Fiscal Plan" as defined by Section 5(10) ofPROMESA.

        "Fiscal Year" shall mean a fiscal year ofPREPA commencing on July 1st and concluding
  on June 30th ofthe following calendar year.

         "Fuel Line Adversary" shall mean that certain litigation, styled Cortland Capital Market
  Services LLC v. The Financial Oversight and Management Board for Puerto Rico, Adv. Proc.
  No. 19-00396-LTS, currently pending in the Title III Court.

         "Fuel Line Lender PSA"shall mean that certain Plan Support and Settlement
  Agreement, dated as of December 1, 2022, by and among the Oversight Board and the Fuel Line
  Lender PSA Creditors, as it may be amended, modified, or supplemented in accordance with the
  terms thereof.


                                                   4
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                           Desc:
                           Exhibit N Page 6 of 43
                                                                                  EXECUTION COPY


        "Fuel Line Lender PSA Creditors" shall mean, collectively, the parties to the Fuel Line
  Lender PSA, other than the Oversight Board, as they may change from time to time in
  accordance with the terms and conditions ofthe Fuel Line Lender PSA.

         "Government Parties" shall mean, collectively, the Oversight Board and PREPA.

          "Government Released Claims" shall mean, collectively, any and all claims, demands,
  rights, liabilities, or causes of action of any and every kind, character or nature whatsoever, in
  law or in equity, known or unknown, whether asserted or unasserted, which any Party, or anyone
  claiming through them, on their behalf or for their benefit have or may have or claim to have,
  now or in the future, against any Government Releasee arising from, related to, or in connection
  with PREPA,the PREPA Revenue Bonds, the PREPA Revenue Bond Claims, and arising prior
  to the PREPA Effective Date (including for the avoidance of doubt claims against the
  Commonwealth related to the PREPA Revenue Bonds); provided, however,that "Government
  Released Claims" shall not include any and all rights, privileges, claims, demands, liabilities, or
  causes of action of any and every kind, character or nature whatsoever(a) against (i) PREPA
  arising from or relating to the Amended Plan, the securities to be issued pursuant to the
  Amended Plan, or (ii) a Government Party unrelated to the PREPA Revenue Bonds, or the
  PREPA Revenue Bond Claims, or(b) arising from or related to any act or omission that
  constitutes intentional fraud or willful misconduct.

         "Government Releasees" shall mean the Government Parties, together with their
  respective current or former board members, directors, principals, special committees, agents,
  officers, employees, advisors and professionals, in each case, in their capacities as such,
  including, without limitation, any and all advisors and professionals retained by the Government
  Parties in connection with the PROMESA Cases, in their respective capacities as such.

          " Insured Bond Claims" shall mean, collectively, the claims of National arising from or
  related to the Insured PREPA Revenue Bonds; provided, however,that, for the avoidance of
  doubt,"Insured Bond Claims" do not include Asserted Reimbursement Claims or Settled
  Reimbursement Claims.

         "Insured PREPA Revenue Bonds" shall mean the National Insured Bonds.

         "Interim Charge" shall mean the equivalent of a one cent($0.01)/KWH volumetric
  charge from the effectiveness ofthis Agreement, if approved by PREB,times the Insured Bond
  Claims divided by the PREPA Revenue Bond Claims, which shall be implemented by PREPA
  and added to customers' bills during the period from approval thereof by PREB up to and
  including the PREPA Effective Date, at which time the Interim Charge shall be terminated.

          "Interim Payment" shall mean, collectively, the payments to be made solely from the
  cash flow generated and collected from the Interim Charge, subject to PREB approval, to
  National in accordance with the terms and provisions of Section 6.2 hereof and the Settlement
  Summary.

         "L UMA"shall mean LUMA Energy, LLC or LUMA Energy ServCo, LLC, as
  applicable.


                                                  5
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                         Desc:
                           Exhibit N Page 7 of 43
                                                                                EXECUTION COPY


        "Motion to Dismiss" shall mean that certain Motion ofthe Ad Hoc Group ofPREPA
  Bondholders, Assured Guaranty Corp., Assured Guaranty Municipal Corp., National Public
  Guarantee Corporation, and Syncora Guarantee, Inc. to Dismiss PREPA's Title III Case, or for
  Relieffrom the Automatic Stay to Enforce Their Right to a Receiver, Case No. 17-bk-4780-LTS,
  ECF No. 2973.

         "NationalInsured Bonds"shall mean, collectively, the PREPA Revenue Bonds that are
  insured by National or any of its affiliates and listed on Exhibit "C" annexed hereto; provided,
  however,that, for the avoidance of doubt,"National Insured Bonds" shall not include the
  Transferred Bonds.

         "New Bonds" shall mean, collectively, the Series A Bonds and the Series B Bonds, as
  more fully described in the Settlement Summary annexed hereto as Exhibit "B",to be issued on
  the PREPA Effective Date by PREPA in accordance with the terms and conditions ofthe
  Amended Plan, the PREPA Confirmation Order, and the New Master Indenture, including,
  without limitation, any refunding bonds which may be issued in accordance with the New Master
  Indenture.

         "New Master Indenture" shall mean the master trust indenture or resolution to be
  executed and delivered as ofthe PREPA Effective Date pursuant to which PREPA, as
  reorganized, shall issue the New Bonds, and including all ofthe terms and provisions in
  connection therewith, as it may be amended, supplemented or modified from time to time, in
  accordance with its terms and conditions, the form of which will be included in the Plan
  Supplement.

        "New Master Trustee" shall mean the trustee or replacement trustee, as the case may be,
  appointed in accordance with the terms and conditions ofthe New Master Indenture.

         "Operation and Maintenance Agreement" shall mean that certain Puerto Rico
  Transmission and Distribution System Operation and Maintenance Agreement, dated as of June
  22, 2020, by and among PREPA,the Puerto Rico Public-Private Partnership Authority and
  LUMA.

      " Plan Supplement" shall mean, collectively, the compilation ofsome or all ofthe
  PREPA Definitive Documents filed by PREPA with the Title III Court.

         " PREB"shall mean the Puerto Rico Energy Bureau, together with its successors and
  assigns.

          "PREPA Revenue Bond Claims" shall mean, collectively, the claims against PREPA
  arising from or relating to the PREPA Revenue Bonds, which shall be calculated, for the
  purposes ofthe Amended Plan, as the outstanding principal amount ofthe PREPA Revenue
  Bonds plus accrued, but unpaid, interest up to, but not including, the PREPA Petition Date.

         "PREPA Confirmation Order" shall mean the order ofthe Title III Court confirming
  the Amended Plan in accordance with Section 314 ofPROMESA and section 1129 ofthe
  Bankruptcy Code made applicable in the PROMESA Cases in accordance with Section 301 of


                                                 6
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                            Desc:
                           Exhibit N Page 8 of 43
                                                                                EXECUTION COPY


  PROMESA,which shall have been proposed to the Title III Court in a form reasonably
  satisfactory to the Oversight Board and National.

          "PREPA Definitive Documents" shall mean, collectively, the documents, including,
  without limitation, any related agreements (including the New PREPA Bonds Indenture),
  instruments, schedules or exhibits, that are necessary or desirable to implement, or otherwise
  relate to, the terms and provisions set forth herein, in the Settlement Summary, the Amended
  Plan (including any amendments, modifications and supplements thereto), the PREPA
  Disclosure Statement, the PREPA Disclosure Statement Order, the PREPA Confirmation Order,
  and bond resolutions, as amended or as repealed and replaced, each having terms and conditions
  consistent with this Agreement, the Settlement Summary, and PROMESA,in all respects and
  otherwise be in form and substance reasonably satisfactory to the Oversight Board and National.
  For the avoidance of doubt, the PREPA Definitive Documents include documents as proposed or
  subsequently revised and proposed.

         " PREPA Disclosure Statement" shall mean the disclosure statement to be filed with
  respect to the Amended Plan with the Title III Court by the Oversight Board in the PREPA
  PROMESA Case in accordance with section 1125 ofthe Bankruptcy Code made applicable in
  the PROMESA Cases in accordance with Section 301 ofPROMESA, which disclosure statement
  shall be in form and substance reasonably acceptable to the Oversight Board and National.

         "PREPA Disclosure Statement Order" shall mean the order ofthe Title III Court(a)
  approving the form ofPREPA Disclosure Statement and the adequacy ofthe information
  contained therein in accordance with section 1125 ofthe Bankruptcy Code, made applicable in
  the PREPA PROMESA Case in accordance with Section 301 ofPROMESA,and (b)
  authorizing, among other things, the form and manner of solicitation of(i) acceptance and
  rejections to the Amended Plan, and (ii) elections, if applicable, of distributions thereunder,
  which order shall be in form and substance reasonably satisfactory to the Oversight Board and
  National, and in each case solely as to itself.

          "PREPA Effective Date" shall mean, the date on which the transactions contemplated by
  the Amended Plan and authorized by the Title III Court pursuant to the PREPA Confirmation
  Order have been substantially consummated, but under all circumstances, shall be the date no
  later than the tenth (10th)calendar day following the date on which all conditions to the
  effectiveness ofthe Amended Plan have been satisfied or waived in accordance with its terms.

         "PROMESA Cases" shall mean, collectively, the Commonwealth PROMESA Case and
  the PREPA PROMESA Case.

        "Proofs ofClaims" shall mean, collectively, the proofs of claims filed by National,
  Claim Nos. 22078 and 23396.

         "Qualified Marketmaker"shall mean an entity that(x)holds itself out to the market as
  standing ready in the ordinary course of its business to purchase from customers and sell to
  customers debt securities such as the PREPA Revenue Bonds or enter with customers into long
  and short positions in debt securities such as the PREPA Revenue Bonds, in its capacity as a
  dealer or market marker in such PREPA Revenue Bonds;(y)is in fact regularly in the business


                                                 7
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                           Desc:
                           Exhibit N Page 9 of 43
                                                                                 EXECUTION COPY


  of making a market in debt securities; and (z) if transacting with respect to PREPA Revenue
  Bonds, is registered with Securities and Exchange Commission and financial institutions
  regulatory authority.

         "Renewed Receiver Motion" shall mean that certain Renewed Motion of National Public
  Finance Guarantee Corporation, Assured Guaranty Corp., Assured Guaranty Municipal Corp.,
  and Syncora Guarantee Inc. for Relief from the Automatic Stay to Allow Movants to Enforce
  Their Statutory Right to Have a Receiver Appointed, Case No. 17-BK-4780-LTS, Dkt. No. 975.

         "Series A Bonds" shall mean, collectively, the series of New Bonds to be issued on the
  PREPA Effective Date and to be distributed to the Fuel Line Lender PSA Creditors in
  accordance with the terms and conditions ofthe Amended Plan, the PREPA Confirmation Order,
  the Fuel Line Lender PSA and the New Master Indenture.

         "  Series B Bonds" shall mean, collectively, the series of New Bonds to be issued on the
  PREPA Effective Date and to be distributed to holders and insurers ofPREPA Revenue Bonds in
  consideration ofthe release and exchange of all claims arising from, or related to, among other
  claims, the PREPA Revenue Bonds and pursuant to the Amended Plan, the PREPA
  Confirmation Order and the New Master Indenture.

         "Settlement Summary"shall mean the summary ofthe key economic terms to be
  included in the Amended Plan as set forth in Exhibit"C" annexed hereto.

         "Sinking Fund" shall have the meaning ascribed to such term in the Adversary.

         "Sistema Adversary" shall mean that certain litigation, styled Sistema de Retiro de los
  Empleados de la Autoridad de Energia Electrica v. Financial Oversight and Management Board
  for Puerto Rico, Adv. Proc. No. 19-0045-LTS, currently pending in the Title III Court.

         "Transferred Bonds" shall mean, collectively, the PREPA Revenue Bonds that National
 (a) satisfied all amounts due and owing thereunder and (b)sold, assigned, and transferred its
  interests and rights into certain third-party buyers.

        "Transferred Claims" shall mean, collectively, claims arising under or relating to the
  Transferred Bonds.

        "UCC Objection" shall mean that certain Objections ofthe Official Committee of
  Unsecured Creditors to Proof of Claim Number 18449, Case No. 17-bk-4780-LTS, Dkt. No.
  1691.

          Section 1.3 Other Terms. Other terms may be defined elsewhere in this Agreement
  and, unless otherwise indicated, shall have such meaning throughout this Agreement. As used in
  this Agreement, any reference to any federal, state, local, or foreign law, including any
  applicable law, will be deemed also to refer to such law as amended and all rules and regulations
  promulgated thereunder, unless the context requires otherwise. The words "include", "includes",
  and "including" will be deemed to be followed by "without limitation." Pronouns in masculine,
  feminine or neutral genders will be construed to include any other gender, and words in the
  singular form will be construed to include the plural and vice versa, unless the context otherwise

                                                  8
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                            Desc:
                           Exhibit N Page 10 of 43
                                                                                  EXECUTION COPY


  requires. The words "this Agreement","herein", "hereof',"hereby","hereunder", and words of
  similar impact refer to this Agreement as a whole and not to any particular subdivision unless
  expressly so limited,

         Section 1.4 Interpretations. The Parties have participated jointly in the negotiation
  and drafting ofthis Agreement. If an ambiguity or question of intent or interpretation arises, this
  Agreement will be construed as if drafted jointly by the Parties hereto and no presumption or
  burden of proof will arise favoring or disfavoring any party hereto because ofthe authorship of
  any provision ofthis Agreement.

         Section 1.5 Exhibits. Each ofthe exhibits, annexes, signature pages and schedules
  annexed hereto are expressly incorporated herein and made a part ofthis Agreement, and all
  references to this Agreement shall include such exhibits, annexes and schedules.

                                             ARTICLE II

                                      GENERAL PROVISIONS

          Section 2.1     Financial Information. The Oversight Board represents and covenants that
 (a)the financial information set forth on signature pages affixed to this Agreement and the
  CUSIP numbers for the PREPA Revenue Bonds, provided by the Parties pursuant to Section 2.2
  hereof are proprietary, privileged, and confidential, and (b) unless otherwise ordered by the Title
  III Court, shall not disclose to any third party and shall otherwise use its reasonable best efforts
 to protect the confidential nature of such financial information and CUSIP numbers, including,
  without limitation, in filings to be made in the Title III Court or any other public release.

          Section 2.2 CUSIP Information. Unless the then-current information has previously
  been provided to the Oversight Board, within two (2) Business Days after the date hereof,
  National shall provide the Oversight Board, in writing, the Face Amount and CUSIP numbers for
  each ofthe PREPA Revenue Bonds, if any, such Party owns, insures or has due investment
  management responsibility and authority for funds or accounts which own such PREPA Revenue
  Bonds. In addition, within five(5)Business Days of each calendar month or upon the request of
  the Oversight Board, which request shall be made no more frequently than monthly from and
  after the date hereof, National shall provide the Oversight Board, in writing, the Face Amount
  and CUSIP numbers for each ofthe PREPA Revenue Bonds, if any, such Party then owns,
  insures or has due investment management responsibility and authority for funds or accounts
  which own such PREPA Revenue Bonds.

          Section 2.3    Settlement. The Agreement sets forth the Parties' understanding regarding
  the compromise and settlement of asserted claims, causes of action, and asserted priority, rights
  and claims as set forth in the Proofs of Claims, the National Insured Bonds, the Insurance
  Agreements, the Adversary, the Motion to Dismiss, the Fuel Line Adversary, the Renewed
  Receiver Motion, the Sistema Adversary and the UCC Objection, including, without limitation,
  the terms and conditions set forth in the Settlement Summary, and such understanding, terms and
  conditions shall be included in the Amended Plan. In the event of any inconsistencies between
  the terms ofthis Agreement and the Settlement Summary, the terms ofthe Settlement Summary
  shall control.

                                                  9
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                              Desc:
                           Exhibit N Page 11 of 43
                                                                                    EXECUTION COPY



                                              ARTICLE III

                            REPRESENTATIONS AND WARRANTIES

          Section 3.1     Representations and Warranties ofthe Oversight Board. The Oversight
  Board hereby represents and warrants that:(a) it is duly created in accordance with the terms and
  provisions ofPROMESA with all requisite consent, approval, power and authority to execute
  this Agreement and to consummate the transactions contemplated hereby;(b) it has full requisite,
  consent, approval, power and authority to execute and deliver and to perform its obligations
  under this Agreement and the execution, delivery and performance hereof, and the instruments
  and documents required to be executed by it in connection herewith (i) have been duly and
  validly authorized by it and (ii) are not in contravention of its organizational documents or any
  material agreements specifically applicable to it or any law, rules or regulations applicable to it;
  and (c) no proceeding, litigation or adversary proceeding before any court, arbitrator or
  administrative or governmental body is pending against it, or to its knowledge has been
  threatened against it, which would adversely affect its ability to enter into this Agreement or to
  perform its obligations hereunder other than other creditors' assertions that they may object to
  confirmation of a plan of adjustment, request stay relief, and/or move to dismiss the PREPA
  PROMESA Case.

         Section 3.2 Representations and Warranties ofPREPA. PREPA,through its Title III
 representative, the Oversight Board, hereby represents and warrants that, subject to entry of an
 order ofthe Title III Court:(a) it is duly organized and validly existing under the laws ofthe
 jurisdiction of its organization with all requisite, consent, approval, power and authority to carry
 on the business in which it is engaged, to own the properties it owns, to execute this Agreement
 and to consummate the transactions contemplated hereby;(b)it has full requisite power and
 authority to execute and deliver and to perform its obligations under this Agreement, and the
 execution, delivery and performance hereof, and the instruments and documents required to be
 executed by it in connection herewith (i) have been duly and validly authorized by it and (ii) are
 not in contravention of its organizational documents or any material agreements specifically
 applicable to it, or any law, rules or regulations applicable to it; and (c) no proceeding, litigation
 or adversary proceeding before any court, arbitrator or administrative or governmental body is
 pending against it, or to its knowledge has been threatened against it, which PREPA believes
 would adversely affect its ability to enter into this Agreement or to perform its obligations
 hereunder.

         Section 3.3 Representations and Warranties of National. National hereby represents
 and warrants that, as ofthe date hereof:(a) it is duly organized, validly existing and in good
 standing under the laws ofthe jurisdiction of its organization with all requisite, consent,
 approval, power and authority to carry on the business in which it is engaged, to own the
 properties it owns, to execute this Agreement and to consummate the transactions contemplated
 hereby;(b) it has full requisite power and authority to execute and deliver and to perform its
 obligations under this Agreement, and the execution, delivery and performance hereof, and the
 instruments and documents required to be executed by it in connection herewith (i) have been
 duly and validly authorized by it and (ii) are not in contravention of its organizational documents
 or any agreements specifically applicable to it, or any law rule or regulations applicable to it;(c)

                                                   10
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                             Desc:
                           Exhibit N Page 12 of 43
                                                                                   EXECUTION COPY


  it owns or has investment management responsibility for accounts that own PREPA Revenue
  Bonds or claims with respect to the Insured Bonds Claims in the amounts set forth on Exhibit
  "C" hereto, which it would be entitled to vote in a plan solicitation, including, without limitation,
  in accordance with the provisions of Section 301(c)(3) ofPROMESA;(d) it has the authority
  pursuant to applicable insurance agreements and insurance policies to settle the claims of
  National Insured Bonds, including, without limitation, in accordance with the provisions of
  Section 301(c)(3) ofPROMESA;(e) except with respect to Transferred Bonds and Transferred
  Claims, it has not sold, assigned, transferred, participated, or otherwise pledged such claims or
  assigned such insurance agreements, or any voting, consent or direction rights related to such
  claims or insurance agreements, to any other person or entity, that would prevent or adversely
  affect in any way its obligations pursuant to this Agreement at the time such obligations are
  required to be performed; and (f) no proceeding, litigation or adversary proceeding before any
  court, arbitrator or administrative or governmental body is pending against it which would
  adversely affect its ability to enter into this Agreement or to perform its obligations hereunder.

          Section 3.4 Representations ofthe Parties to this Agreement. Each Party, severally
  and not jointly, represents and acknowledges that:(a) in executing this Agreement, it does not
  rely, and has not relied, upon any representation or statement made by any other Party or any of
  such Party's representatives, agents or attorneys, with regard to the subject matter, basis or effect
  ofthis Agreement or otherwise, other than as stated in this Agreement;(b)in executing this
  Agreement, it has relied entirely upon its own judgment, beliefs and interest and the advice of its
  counsel and that it has had a reasonable period oftime to consider the terms of this Agreement
  before entering into it; and (c) it has reviewed this Agreement and that it fully understands and
  voluntarily accepts all ofthe provisions contained herein. Nothing contained herein shall limit or
  otherwise modify any commutation or other separate agreement or instrument entered into by
  one or more holders ofPREPA Revenue Bonds, on the one hand, and National, on the other
  hand, or prevent any such parties from voluntarily entering into any commutation or similar
  separate agreement or instrument from and after the date hereof.

                                             ARTICLE IV

                                            COVENANTS

         Section 4.1    Covenants ofthe Oversight Board. The Oversight Board shall take, and
 cause PREPA to take, all actions necessary to obtain, and shall not, nor encourage or support any
 other person to, take any action which would, or would reasonably be expected to, impede or
 preclude the performance and implementation of this Agreement, including, the filing ofthe
 Amended Plan, the PREPA Disclosure Statement and, the approval ofthe PREPA Disclosure
 Statement and the entry ofthe PREPA Confirmation Order and the consummation,
 implementation and administration ofthe Amended Plan including the execution and delivery of
 the PREPA Definitive Documents, provided that the PREPA Disclosure Statement, and the
 Amended Plan (and their consummation, implementation and administration) and the other
 PREPA Definitive Documents are consistent with the terms herein and in the Amended Plan,
 including, without limitation, that the Parties have acted in good faith in connection with
 mediation and the negotiation ofthe terms hereof and thereof Such actions shall include, but not
 be limited to,(a)filing the Amended Plan and PREPA Disclosure Statement, in form and

                                                   11
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                            Desc:
                           Exhibit N Page 13 of 43
                                                                                   EXECUTION COPY


    substance consistent with this Agreement and reasonably acceptable to the Parties as it relates to
    implementation ofthis Agreement, including their treatment recovery, or releases pursuant to the
    Amended Plan, with the Title III Court, by February 10, 2023, or such later date as agreed to by
    the Parties or ordered by the Title III Court,(b) prosecuting and otherwise defending, in a timely
   and appropriate manner, the approval ofthe PREPA Disclosure Statement and proposed
   confirmation schedule contemplating a July 2023 confirmation hearing with respect to the
    Amended Plan, including, without limitation, approval ofthe compromise and settlement set
   forth herein and in the Settlement Summary,(c)filing a proposed PREPA Confirmation Order as
   contemplated herein,(d) not issuing Series A Bonds other than those to be issued pursuant to the
   Initial Plan and the Fuel Line Lender PSA,(e)refraining from directly or indirectly commencing,
   supporting or continuing to prosecute, directly or indirectly, any action or proceeding or
   asserting any claim or objection against National (or its trustees, fiscal agents, or paying agents)
   relating to the PREPA Revenue Bonds and taking all reasonable efforts to prevent any other
   person or entity (private or governmental)from directly or indirectly commencing, supporting or
   continuing to prosecute any such action or proceeding or asserting any such claim or objection;
   provided, however,that the Oversight Board shall be entitled to prosecute the Adversary against
   any party other than National, including, without limitation, the Trustee, any successor trustee
   for the PREPA Revenue Bonds, and other monoline insurers ofthe PREPA Revenue Bonds; and,
   provided,further,that any judgment against any such party shall not affect the Parties' rights and
   obligations pursuant to this Agreement if the settlement set forth herein and in the Amended Plan
   is approved; and, provided,further,that, for the avoidance of doubt, the Oversight Board is
   permitted to continue to prosecute and/or settle the Adversary without any limitation as long as
   the result will not affect the Parties' rights and obligations herein,(f) except as set forth in the
   preceding subsection (e), refraining from directly or indirectly commencing (or continuing to
   prosecute) or taking any legal position in any action or proceeding, including, without limitation,
  asserting any claim or objection, that is inconsistent with the compromises and settlements
   described herein or set forth in the Amended Plan,(g) at least five (5)days prior to such filing,
  delivering to counsel for National copies ofthe PREPA Disclosure Statement, the Amended
  Plan, the PREPA Plan Supplement, the PREPA Confirmation Order, the other PREPA Definitive
  Documents, and all other documents related to any ofthe foregoing,(h)if a party (i) files a
  notice of appeal from the entry ofthe PREPA Confirmation Order and (ii) seeks a stay pending
  appeal in connection therewith, using reasonable best efforts to oppose such stay request,
  including, without limitation, seeking the posting by the appealing of a supersedeas bond in an
  amount commensurate with potential losses resulting from any delay caused by any appeals or
  petitions for review ofthe PREPA Confirmation Order,(i) using its reasonable best efforts to
  provide, and cause PREPA to provide, to National(and its advisors) information reasonably
  requested to facilitate, implement, consummate or otherwise give effect to the Amended Plan
  and the restructuring ofPREPA,(j) using its reasonable best efforts and negotiating in good faith
  with National the terms and provisions ofthe Amended Plan, the proposed PREPA Confirmation
  Order, the New PREPA Bonds Indenture, and the Custodial Trust Documents, in an effort to
  conclude the documentation thereof prior to the PREPA Effective Date; provided, however, that,
  ifthe Title III Court will not confirm the Amended Plan because, among other reasons, it will not
  approve the settlement set forth herein or because of an unfair discrimination objection involving
  the treatment ofthe claims of National, nothing herein bars the Oversight Board, PREPA's Title
  III representative, from amending such plan of adjustment to provide the class of Insured Bond
  Claims and Asserted Reimbursement Claims the same treatment as other bondholders and


                                                   12
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                              Desc:
                           Exhibit N Page 14 of 43
                                                                                    EXECUTION COPY


  prosecuting its confirmation so long as the Oversight Board first undertakes to consult in good
  faith with National on a consensual resolution the Oversight Board reasonably believes would
  facilitate the Amended Plan being confirmable,(k)requesting that PREPA file, or cause PREPA
  to request that LUMA file, an application with PREB seeking approval ofthe Interim Charge,
  and take such other action to prosecute such application, and (1) not entering into any agreement
  with any other party that does not accept and/or support the First Amended Plan, the Amended
  Plan and the Settlement.

           Section 4.2 Covenants ofPREPA. PREPA shall take all actions reasonably necessary
   to obtain, and shall not, nor encourage or support any other person, entity or party in interest, to,
   take any action which would, or would reasonably be expected to, impede or preclude the
   performance and implementation ofthis Agreement, including, the filing ofthe Amended Plan,
   the PREPA Disclosure Statement, the approval ofthe PREPA Disclosure Statement, the entry of
   the PREPA Confirmation Order, and the consummation, implementation and administration of
   the Amended Plan, including the execution and delivery ofthe PREPA Definitive Documents
   provided that the PREPA Disclosure Statement, the Amended Plan (and their consummation,
   implementation and administration) and the other PREPA Definitive Documents are consistent
   with the terms herein and in the Amended Plan, including, without limitation, that the Parties
   have acted in good faith in connection with the mediation and the negotiation ofthe terms hereof
   and thereof. Such actions shall include, but not be limited to,(a) filing the Amended Plan and
   the PREPA Disclosure Statement in form and substance consistent with the Agreement and
   reasonably acceptable to the Parties as it relates to implementation of this Agreement, including
   their treatment recovery or releases pursuant to the Amended Plan, with the Title III Court by
   February 10, 2023, or such later date as agreed to by the Parties or ordered by the Title III Court,
 (b) prosecuting and otherwise defending, in a timely and appropriate manner, the approval ofthe
  PREPA Disclosure Statement and proposed confirmation schedule contemplating a July 2023
  confirmation hearing with respect to the Amended Plan, including, without limitation, approval
  ofthe compromise and settlement set forth herein and in the Settlement Summary,(c) providing
  the Oversight Board with such financial information as shall be reasonably requested to be
  necessary to prosecute the PREPA PROMESA Case,(d)filing a proposed PREPA Confirmation
  Order as contemplated herein,(e) not issuing Series A Bonds other than those to be issued
  pursuant to the Initial Plan and the Fuel Line Lender PSA,(f) refraining from directly or
  indirectly commencing, supporting or continuing to prosecute any action or proceeding or
  asserting any claim or objection against National, relating to the PREPA Revenue Bonds(or
  their respective trustees, fiscal agents or paying agents), as the case may be, and taking all
  reasonable efforts to prevent any other person or entity (private or governmental)from directly
  or indirectly commencing, supporting or continuing to prosecute, directly or indirectly, any such
  action or proceeding or asserting any such claim or objection provided, however,that the
  Oversight Board, as representative ofPREPA in the PREPA PROMESA Case, shall be entitled
  to prosecute the Adversary in accordance with the terms and provisions of Section 4.1(e) hereof,
 (g)subject to the right and ability ofthe Oversight Board and PREPA to prosecute the Adversary
  set forth in the preceding subsection (f), refraining from directly or indirectly commencing (or
  continuing to prosecute) or taking any legal position in any action or proceeding, including,
  without limitation, asserting any claim or objection, that is inconsistent with the compromises
  and settlements described herein or set forth in the Amended Plan,(h) within thirty (30)days of
  the date hereof, file, or request that LUMA file, an application with PREB seeking approval of
 the Interim Charge,(i) using its reasonable best efforts to provide to National (and its advisors)

                                                   13
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                               Desc:
                           Exhibit N Page 15 of 43
                                                                                     EXECUTION COPY


  information reasonably requested to facilitate, implement, consummate or otherwise give effect
  to the Amended Plan and the restructuring ofPREPA,(j) if a party (i) files a notice of appeal
  from the entry ofthe PREPA Confirmation Order and (ii) seeks a stay pending appeal in
  connection therewith, using reasonable best efforts to oppose such stay request, including
  seeking the posting by the appealing party of a supersedeas bond in an amount commensurate
  with potential losses resulting from any delay caused by any appeals or petitions for review of
  the PREPA Confirmation Order, and (k) using its reasonable best efforts to provide information
  as shall be reasonably requested by the Oversight Board, and National (and its advisors) to
  facilitate, implement, consummate or otherwise give effect to the Amended Plan and the
  restructuring ofPREPA, including, without limitation, the ongoing prosecution ofthe PREPA
  PROMESA Case.

          Section 4.3     Covenants of National. National hereby covenants as follows:

          (a)     National shall not, except as expressly provided herein,(i) file any additional
  claims or proofs of claim, whatsoever, with the Title III Court against the Commonwealth, or
  PREPA (including secured, unsecured, administrative or substantial contribution claims) on
   account of any National Insured Bonds, the Asserted Reimbursement Claims, or any PREPA
  Revenue Bond Claims provided that the failure to file any additional proofs of claim as a result
  of its obligations under this clause (i) shall not prejudice, nor shall it be deemed to be a limitation
  of, National's aggregate holdings ofPREPA Revenue Bond Claims,(ii) file any additional
  claims, commence or prosecute any pending or additional litigation (including the Adversary),
  proceeding, action or matter on account of any National Insured Bonds, the Asserted
  Reimbursement Claim, or any of its PREPA Revenue Bond Claims in the PREPA PROMESA
  Case (and National agrees to stay all such pending litigations, proceedings, actions or matters) or
  seek to recover damages or to seek any other type of relief against any ofthe Government
  Releases based upon, arising from or relating to the Government Released Claims or any ofthe
  claims or causes of action asserted or which could have been asserted in the Adversary or the
  Renewed Receiver Motion, or (iii) directly or indirectly aid any person in taking any action with
  respect to the Government Released Claims that is prohibited by this Section 4.3(a). Without
  limiting the foregoing, within four(4)Business Days from the date hereof, (A)National and the
  Oversight Board shall file joint urgent motions, in form reasonably acceptable to National and
  the Oversight Board, to stay, to the extent necessary, the Adversary, the Motion to Dismiss, the
  Fuel Line Adversary, the Renewed Receiver Motion, the Sistema Adversary, and the UCC
  Objection, each as to National, and(B)National shall take, or cause to be taken, any and all
  actions necessary, including, without limitation, serving notice thereof upon all affected parties,
  to cause the stay of discovery propounded solely by National in connection with the Adversary,
  the Motion to Dismiss, the Fuel Line Adversary, the Renewed Receiver Motion, the Sistema
  Adversary, and the UCC Objection, including, without limitation, the withdrawal of all
  subpoena, deposition notices, requests for production of documents, and any joinders by
  National in such proceedings and to requests for discovery filed in accordance with Bankruptcy
  Rule 2004.

         (b)      National shall (i) support, and otherwise not encourage or support any other
  person to, take any action that would, or would reasonably be expected to, breach or be
  inconsistent with the terms herein, or impede or preclude the performance and implementation of
  this Agreement, including the filing ofthe Amended Plan the administration ofthe PROMESA

                                                    14
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                          Desc:
                           Exhibit N Page 16 of 43
                                                                                 EXECUTION COPY



  Cases, the approval ofthe PREPA Disclosure Statement the entry ofthe PREPA Confirmation
  Order and the consummation, implementation and administration ofthe Amended Plan including
  the execution and delivery ofthe PREPA Definitive Documents provided that the PREPA
  Disclosure Statement, the PREPA Confirmation Order, the Amended Plan (and its
  consummation, implementation and administration) and the PREPA Definitive Documents are
  consistent with the terms herein,(ii) in accordance with the provisions of Section 5.1 hereof,(A)
  not consent to or vote for any modification ofthe Amended Plan unless such modification is
  proposed or supported by the Oversight Board, and otherwise consistent with the terms herein
  and(B)not vote for or support any plan of adjustment not proposed or supported by the
  Oversight Board, so long as none ofthe Government Parties is in material breach of their
  obligations set forth in this Agreement; provided, however,that National acknowledges that each
  Insured Bond Claim shall be voted in accordance with Section 301(c)(3) ofPROMESA and such
  other applicable law and governing documents, so long as this Agreement remains in effect,(iii)
  in the event a party(A)files a notice of appeal from the entry ofthe PREPA Confirmation Order
  and(B)seeks a stay pending appeal in connection therewith, use reasonable best efforts to
  oppose such stay request, including, without limitation, seeking the posting by the appealing
  party of a supersedeas bond in an amount commensurate with potential losses resulting from any
  delay caused by any appeals or petitions for review ofthe PREPA Confirmation Order and (iv)
  use its reasonable best efforts and negotiate in good faith with the Oversight Board on the terms
  and conditions ofthe Amended Plan, the proposed PREPA Confirmation Order, the New Master
  Indenture, and the Custodial Trust Documents, in an effort to conclude the documentation
  thereof prior to the PREPA Effective Date.

         (c)       Subject to the terms set forth herein, including, without limitation, the stay of
  litigation as required in accordance with Section 4.3(a) hereof, National shall not be limited or
  prohibited from (i) taking such action that National shall deem necessary or appropriate to
  preserve, protect or defend any of its rights under this Agreement, the Amended Plan, the other
  PREPA Definitive Documents,(ii) asserting any claims or causes of action against any Party that
  breaches this Agreement, or (iii) participating, in support ofPREPA or LUMA's application for
  the Interim Charge, in any proceeding before PREB adjudicating approval ofthat charge or in
  any other proceeding relating to the Interim Charge; provided, however,that, in accordance with
  the provisions of Section 4.3(a) hereof, National shall take no action in connection with the
  Adversary other than the filing ofthe requisite notices and withdrawals required therein.

        (d)      National shall not sell, transfer, pledge, hypothecate or assign (except as may be
  required in accordance with Section 301(c)(3) ofPROMESA,the definitive insurance documents
  and applicable law with respect to a National Insured Bond)(a"Transfer"      )any National Insured
  Bonds, or any voting, consent, or direction rights or participations or other interests therein
 (collectively, the"PREPA Interests"     )during the period from the date hereof up to and
  including the earlier to occur of(i)the PREPA Effective Date and (ii) the termination of this
  Agreement in accordance with the provisions of Section 7.2 hereof; provided, however, that,
  notwithstanding the foregoing, National may transfer any PREPA Interests to an entity that
  executes and delivers, within five (5)calendar days after execution thereof, to counsel for the
  Oversight Board and AAFAF,the Joinder Agreement attached hereto as Exhibit"D"(a
 "Qualified Transferee"     ), pursuant to which (y)such Qualified Transferee shall (i) assume all
 the rights and obligations ofthe transferor in accordance with the terms and conditions of this
  Agreement, and (ii) such Qualified Transferee shall then be deemed a PSA Creditor for all

                                                  15
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                              Desc:
                           Exhibit N Page 17 of 43
                                                                                    EXECUTION COPY


  purposes herein, including, without limitation, with respect to any additional PREPA Revenue
  Bonds held by such Qualified Transferee at the time it joins this Agreement, and shall assume all
  ofthe rights and obligations hereunder (other than the right to receive the Consummation Costs)
  and (z)on or after the effective date ofthe Transfer, such transferor shall be deemed to have
  relinquished its rights (other than the right to receive the Consummation Costs), and be released
  from its obligations (other than as set forth in Section 4.3(c) hereof) on or after the effective date
  ofthe Transfer under this Agreement solely to the extent of such transferred rights; and,
  provided, further, that, to the extent that a Transfer violates the provisions of this Section 4.3(d),
  it shall be void ab initio and the applicable PREPA Revenue Bond Claims and the entity
  attempting such Transfer shall continue to remain subject to the terms ofthis Agreement; and,
  provided,further,that nothing contained herein is intended, nor shall it be construed, to preclude
  any entity from acquiring additional PREPA Revenue Bond Claims; provided, however,that any
  such PREPA Revenue Bond Claims acquired from and after the date hereof shall automatically
  and immediately upon acquisition by an entity be deemed subject to all ofthe terms and
  provisions ofthis Agreement.

         Section 4.4 Covenants ofthe Parties. Subject to the terms and conditions hereof, each
  ofthe Parties, severally and not jointly, hereby covenants as follows:

        (a)      Coordination. The Parties shall coordinate and use their reasonable best efforts to
  obtain the consent and joinder of AAFAF prior to consummation ofthe transactions
  contemplated herein. Any representations, warranties, covenants, or other obligations of
  AAFAF contemplated herein shall not be effective until an authorized signature for such entity
  has been affixed hereto.

        (b)      Good Faith Negotiations. The Parties shall cooperate and negotiate in good faith
  and exercise reasonable best efforts with respect to the prosecution, approval, negotiation,
  execution, delivery and implementation ofthe PREPA Definitive Documents.

         (c)     Legal and Other Protections. The Amended Plan, the proposed PREPA
  Confirmation Order, the New Master Indenture and the PREPA Definitive Documents, to the
  extent applicable, in a manner to be agreed to by the Oversight Board and National, shall, to the
  extent allowed by law, include the following legal protections:

               (i)       The PREPA Fiscal Plan in effect on the PREPA Effective Date, and any
  post-PREPA Effective Date PREPA Fiscal Plan will include provisions for the payment in each
  Fiscal Year of principal and interest of New Bonds, including, without limitation, sinking fund
  payments due in such Fiscal Year;

                (ii)    The Amended Plan, the proposed PREPA Confirmation Order and the
  New Master Indenture shall provide for a covenant setting forth an additional bonds test, if any,
  to be agreed upon by the parties to the PREPA Definitive Documents;

                (iii) PREPA Fiscal Plans certified on or after the PREPA Effective Date, the
  Amended Plan and the proposed PREPA Confirmation Order shall provide for the measures
  necessary to service the obligations contemplated pursuant to this Agreement, the Amended
  Plan, the New Bonds and the New Master Indenture;


                                                   16
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                              Desc:
                           Exhibit N Page 18 of 43
                                                                                    EXECUTION COPY


                (iv) The proposed PREPA Confirmation Order shall provide for(A)the
  retention ofjurisdiction by the Title III Court, or, in the event the Title III Court declines such
  retention ofjurisdiction or the PREPA PROMESA Case has been closed in accordance with the
  terms and provisions ofPROMESA,and(B)the United States District Court for the District of
  Puerto Rico, to rule on enforcement ofthe certified Fiscal Plans and the obligations
  contemplated pursuant to this Agreement, the New Bonds and the New Master Indenture;

                 (v)     The New Bonds, including, without limitation, any New Bonds issued in
  accordance with the terms and provisions of Section 4.4(c) hereof, and, to the extent feasible,
  shall bear a stamp or similar legend stating that the United States District Court for the District of
  Puerto Rico has determined that such bonds and securities are valid, legally binding and
  enforceable pursuant to the PREPA Confirmation Order;

               (vi)       The New Master Indenture and the New Bonds, shall be governed by New
  York law; and

                  (vii) The PREPA Confirmation Order shall be full, final, complete, conclusive
  and binding upon and shall not be subject to collateral attack or other challenge in any court or
  other forum by(1)PREPA,(2)each person or entity asserting claims or other rights against
  PREPA, or any of their respective instrumentalities or agencies, including a beneficial interest
 (directly or indirectly, as principal, agent, counterpart, subrogee, insurer or otherwise) in respect
  of bonds by the Commonwealth, or any of its or their instrumentalities or with respect to any
  trustee, collateral agent, indenture trustee, fiscal agent, and any bank that receives or holds funds
  related to such bonds, whether or not such claim or other rights of such person or entity are
  impaired pursuant to the Amended Plan and, if impaired, whether or not such person or entity
  accepted the Amended Plan,(3) any other person, and (4)each ofthe foregoing's respective
  heirs, successors, assigns, trusted, executors, officers, directors, agents, representatives,
 attorneys, beneficiaries or guardians; provided, however,that, notwithstanding the foregoing, the
  Amended Plan and PREPA Confirmation Order shall not include any third-party releases.

         (c)       Tax-Exempt Treatment ofthe Series B Bonds. The Oversight Board and PREPA
  shall use their reasonable best efforts to cause the payment of principal and interest with respect
  to the Series B Bonds to be treated as triple tax-exempt.

          Section 4.5      Right to Vote. Each Party acknowledges that, for purposes of this
  Agreement, and any Amended Plan solicited in accordance with the provisions of this
  Agreement, and so long as this Agreement remains in effect and is not otherwise terminated by
  National as to itself,(a) National shall have the right to vote to accept or reject the Amended
  Plan to the extent provided by the terms and provisions of Section 301(c)(3) ofPROMESA and
  such other applicable law and governing documents on account of the National Insured Bonds,
  and (b) it shall not object to National's right to vote to accept or reject the Amended Plan in
  accordance with subsection (a) above. For the avoidance of doubt, if this Agreement is no longer
  in effect, all Parties hereto reserve their respective rights to seek a determination by the Title III
  Court with respect to National's and its insured bondholders' rights to vote to accept or reject
  any Amended Plan.




                                                   17
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                              Desc:
                           Exhibit N Page 19 of 43
                                                                                    EXECUTION COPY


          Section 4.6 Qualified Marketmaker. Notwithstanding anything contained in this
  Agreement to the contrary, including, without limitation, the terms and provisions of Section
  4.3(d) hereof, National may transfer any rights, title or interests in the National Insured Bonds, or
  any municipal CUSIP bonds for which the PREPA Revenue Bonds are exchanged in accordance
  with the provisions ofthe Settlement Summary to a Qualified Marketmaker, acting in its
  capacity as a Qualified Marketmaker, without the requirement that such Qualified Marketmaker
  become a party to this Agreement, provided that such Qualified Marketmaker subsequently
  transfers all such rights, title or interests to a Qualified Transferee within the date that is ninety
 (90)days after such Qualified Marketmaker's acquisition of such rights, title or interests.

                                              ARTICLE V

                                    PLAN AND PLAN SUPPORT

          Section 5.1    Amended Plan Support Commitment. From and after the date hereof,
  provided that(a)this Agreement has not been terminated and (b) none ofthe PREPA Disclosure
 Statement, the Amended Plan or any ofthe proposed PREPA Definitive Documents have been
 filed, amended or modified in a manner inconsistent with the provisions of this Agreement, each
 ofthe PSA Creditors (to the extent remaining a Party), shall (i) support(A)approval ofthe
 PREPA Disclosure Statement in accordance with section 1125 ofthe Bankruptcy Code,(B)
 confirmation of the Amended Plan in accordance with Section 314 ofPROMESA and section
  1 129 ofthe Bankruptcy Code, and(C)take no further action in connection with the Adversary,
 the Motion to Dismiss, the Fuel Line Adversary, the Renewed Receiver Motion, the Sistema
 Adversary, and the UCC Objection, through a date no earlier than the PREPA Effective Date,
 other than as provided in Section 4.3 hereof, as applicable; provided, however,that nothing
 herein shall limit or prohibit a PSA Creditor from taking any action, or asserting any claims or
 causes of action, in connection with any matter relating solely to National or prohibit National
 from taking any action, or asserting any claims or causes of action, in connection with any matter
 relating solely to the holders of Insured Bond Claims that are insured by National (including,
 without limitation, voting of claims, subrogation, acceleration, commutation, or any act
 necessary to maintain the benefits of, and rights under, the applicable monoline insurance
 policy), and(D)a stay of any joinders by National to requests for discovery served pursuant to
 Bankruptcy Rule 2004,(ii) subject to receipt ofthe PREPA Disclosure Statement and/or other
 solicitation materials in respect ofthe Amended Plan, to the fullest extent permitted by law,
 timely vote, or cause to be voted, to accept the Amended Plan in its capacity as a PREPA Holder,
 or insurer of Insured Bond Claims with rights of acceptance in accordance with the PREPA
 Disclosure Statement Order, each as the case may be; provided, however,that National shall
 only be required to vote, or cause to be voted, to accept the Amended Plan with respect to those
 PREPA Revenue Bond Claims and Settled Reimbursement Claims that National owns or
 beneficially holds or insures and is entitled to vote in accordance with the terms of Section
 301(C)(3) ofPROMESA and such other applicable law and governing documents,(iii) not
 change or withdraw (or cause to be changed or withdrawn) any such vote,(iv) not consent to or
 vote for any modification ofthe Amended Plan unless such modification is(Y)not adverse to
 National, and (Z)not inconsistent with the terms provided herein and the Amended Plan, and (v)
 not vote for or support any PREPA plan of adjustment not proposed to or supported by the
 Government Parties, so long as none of the Government Parties is in material breach ofthis
 Agreement; provided, however,that each ofthe Parties acknowledges that each Insured Bond

                                                   18
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                              Desc:
                           Exhibit N Page 20 of 43
                                                                                    EXECUTION COPY


  Claim shall be voted in accordance with the terms of Section 301(c)(3) ofPROMESA and such
  other applicable law and governing documents, so long as this Agreement remains in effect as to
  such Party.

          Section 5.2 Solicitation Required in Connection with Plans. Notwithstanding
  anything contained in this Article V or elsewhere in this Agreement to the contrary, this
  Agreement is not, and shall not be deemed to be, an offer with respect to any securities or a
  solicitation of acceptances ofthe Amended Plan for purposes ofPROMESA,sections 1125 and
  1 126 ofthe Bankruptcy Code or otherwise. Any such offer or solicitation will comply with all
  applicable securities laws and/or provisions ofPROMESA and the Bankruptcy Code. Each of
  the Parties, severally and not jointly, acknowledges that(a)the votes on the Amended Plan will
  not be solicited until the Title III Court has approved the disclosure statement and related
  solicitation materials, and such disclosure statement and solicitation materials have been
  transmitted to parties entitled to receive same and (b)this Agreement does not constitute an offer
  to issue or sell securities to any person or entity, or the solicitation of an offer to acquire or buy
  securities, in any jurisdiction where such offer or solicitation would be unlawful.
  NOTWITHSTANDING THE FOREGOING,NOTHING CONTAINED HEREIN SHALL
  REQUIRE ANY PARTY TO TAKE ANY ACTION PROHIBITED BY PROMESA,THE
  SECURITIES ACT OF 1933, AS AMENDED,THE SECURITIES EXCHANGE ACT OF
  1934, AS AMENDED,ANY RULE OR REGULATIONS PROMULGATED THEREUNDER,
  OR BY ANY OTHER APPLICABLE LAW OR REGULATION OR BY ANY ORDER OR
  DIRECTION OF ANY COURT OR ANY STATE OR FEDERAL GOVERNMENTAL
  AUTHORITY.

          Section 5.3 Custodial Trusts/Acceleration/Commutation of Insurance. Subject to (a)
  the provisions set forth in Article VII hereof, including, without limitation, the termination of
  this Agreement by National, and (b) all insurance policies and related agreements relating to
  National Insured Bonds being in full force and effect, with no outstanding payment defaults by
  National with respect to such National Insured Bonds, respectively, up to and including the
  PREPA Effective Date,(i) the Amended Plan shall contain a provision providing that(A)the
  payment ofthe principal ofthe PREPA Revenue Bonds insured by National is accelerated as of
  the PREPA Effective Date, and(B)the PREPA Revenue Bonds insured by National are payable
 from and after the PREPA Effective Date at an "acceleration price" of one hundred percent
 (100%)ofthe principal amount thereof plus interest accrued thereon (or, in the case of any
  capital appreciation bonds, the compounded amount thereof) to the date of payment,(ii) the
  Amended Plan shall include provisions relating to, as applicable(A)the implementation of
 custodial trusts in connection with distributions to be made to the holders of National Insured
 Bonds, and(B)a proposal to the applicable holders of National Insured Bonds regarding the
 resolution of such holders' claims in respect of applicable policies of insurance, which provisions
 shall be in the form and substance satisfactory to the Oversight Board and, to the extent
 applicable, National. Such proposals may take the form of one or more commutation
 transactions; provided, however, that no holder of National Insured Bonds shall be required to
 accept any such proposal to commute the respective policies of issuance.




                                                   19
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                          Desc:
                           Exhibit N Page 21 of 43
                                                                                 EXECUTION COPY



                                            ARTICLE VI

            CONSUMMATION COSTS, STRUCTURING FEES,REIMBURSEMENT
                       CLAIMS AND INTERIM PAYMENTS

          Section 6.1     Consummation Costs,Structuring Fees, and Reimbursement Claims.
  Subject to the conditions set forth herein and in the Amended Plan, Consummation Costs,
  Structuring Fees, and Settled Reimbursement Claims, each of which shall be fully earned as of
  the date hereof, shall be paid on the PREPA Effective Date in accordance with the conditions set
  forth in the Amended Plan and the PREPA Confirmation Order.

         (a)     Consummation Costs. In consideration for the fees and expenses incurred by
  National in connection with Insured Bond Claims, the negotiation and execution of this
  Agreement and the prosecution of approval of the Amended Disclosure Statement and
  confirmation ofthe Amended Plan, National shall be entitled to receive on the PREPA Effective
  Date, in the form of an allowed administrative expense claim, based upon the positions it holds
  or has insured, as set forth on Exhibit"C" hereto, Cash or Series B Bonds, as elected by the
  Oversight Board in its sole and absolute discretion, which election shall be made at or prior to
  the commencement ofthe PREPA Confirmation Hearing, in an amount equal to three percent
 (3.0%)times the National Bond Claim Amount; provided, however,that, in the event this
  Agreement is terminated by National, National shall not be entitled to the payment of
  Consummation Costs.

        (b)       Structuring Fees. In consideration for the structuring of payments to be made to
  holders of claims arising from or relating to National Insured Bonds in accordance with the
  Settlement Summary, on the PREPA Effective Date, PREPA shall make payments to National in
  the amounts of2.86% times the National Bond Claim Amount, in Cash or Series B Bonds,
  elected in the sole discretion ofthe Oversight Board, which election shall be made at or prior to
  the commencement ofthe PREPA Confirmation Hearing.

        (c)       Reimbursement Claims. In exchange for executing this Agreement and other
 good and valuable consideration provided by the Parties pursuant hereto and in connection with
 the compromise and settlement contemplated herein, subject to the entry ofthe PREPA
 Confirmation Order, on the PREPA Effective Date,(i) the Settled Reimbursement Claims of
 National will be allowed and (ii) National shall be entitled to receive, and PREPA shall issue
 Series B Bonds in the original principal amount equal to twenty percent(20%)of National's
 Settled Reimbursement Claim; provided, however, that, in the event that(a) one or more parties
 in interest in the PREPA PROMESA Case objects to confirmation ofthe Amended Plan or the
 settlement of National's claims embodied in the Amended Plan for reasons, including, without
 limitation, its treatment or allowability of such Settled Reimbursement Claims, or(b)the Title III
 Court considers either issue sua sponte or pursuant to an objection, and, in either case, the Title
 III Court does not approve the settlement or finds unfair discrimination for reasons, including,
 without limitation, the allowability and/or treatment ofthe Settled Reimbursement Claims, the
 settlement and the treatment of National's claims shall, without further action, convert to a
 settlement of National's claims that eliminates the obligation to issue Series B Bonds on account
 ofthe Settled Reimbursement Claims and any payments for debt service and any legal,
 consummation, or other fees arising from, relating to, or on account ofthe Settled

                                                 20
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                              Desc:
                           Exhibit N Page 22 of 43
                                                                                  EXECUTION COPY


  Reimbursement Claims; provided,further, that, in such circumstance, National shall have the
  option to forego all consideration which may be provided pursuant to the Amended Plan, the
  PREPA Confirmation Order, and this Agreement, including the Consummation Costs and
  Structuring Fees, and, in exchange therefor, receive the same treatment as another settling class
  of holders ofPREPA Revenue Bond claims, so long as the settlement with such class whose
  recovery National would receive was reached prior to the earlier to occur of(y)any substantive
  ruling on the claims and counterclaims asserted in the Adversary that holders ofPREPA
  Revenue Bonds are secured by revenues outside ofthe Sinking Fund, and (z) an indication or a
  determination, either oral or written, at a hearing or otherwise, by the Title III Court that the
  Holders ofPREPA Revenue Bonds are secured by revenues outside ofthe Sinking Fund.

          Section 6.2 Interim Payment. In exchange for executing this Agreement and other
   good and valuable consideration provided by the Parties pursuant hereto and in connection with
  the compromise and settlement contemplated herein,(a) in accordance with the terms and
   provisions of Section 4.1 and 4.2 hereof, the Oversight Board and PREPA shall use their
  reasonable best efforts to cause PREPA to file, or cause PREPA to request that LUMA file, an
  application with PREB to obtain approval ofthe Interim Charge,(b)in accordance with the
  terms and provisions of Section 4.2 hereof, PREPA shall use its reasonable best efforts to file, or
  cause LUMA to file, an application with PREB seeking approval ofthe Interim Charge and
  diligently prosecute, and to cause LUMA to prosecute, such application, and (c) subject to
  approval of such volumetric charge by PREB,from and after the effectiveness ofthe Agreement
  up to, but not including, the PREPA Effective Date, National shall receive payments of Cash
  collected, in an amount up to its pro rata share of revenues generated by from the Interim
  Charge, on account of its existing PREPA Revenue Bond Claims; provided, however, that, if
  PREB approval is not obtained,(i)PREPA shall not be obligated to make any such payments to
  National and (ii) National shall not be relieved of its obligation to support confirmation ofthe
  Amended Plan in accordance with the provisions of Article V hereof; and, provided,further,that
  cumulative revenues received by National pursuant to the provisions of this Section 6.2 and the
  Settlement Summary shall not exceed (i) National's existing coupon during the period from the
  Agreement effective date up to, but not including, the PREPA Effective Date and (ii) National's
  pro rata share ofthe revenues collected by PREPA on account ofthe Interim Charge; and,
  provided,further, amounts accrued on the Interim Charge, but not collected by the PREPA
  Effective Date, shall not be owed by PREPA and PREPA will not have to pay any such amounts;
  and, provided,further,that, ifthe Amended Plan is neither confirmed nor consummated, any
  amounts received by National with respect to the Interim Payment shall be, and shall be deemed
  to constitute, a reduction ofthe distributions to be recovered by National pursuant to (i) any
  future plan of adjustment for PREPA or (ii) settlement, litigation, or other resolution of
  National's claims on account ofthe principal amount ofthe National Insured Bonds without
  further order ofthe Title III Court.

                                            ARTICLE VII

                             EFFECTIVENESS AND TERMINATION

          Section 7.1    Effectiveness of Agreement. This Agreement shall become effective upon
  the date on which (a) execution and delivery ofthe applicable counterpart signature pages by the

                                                  21
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                            Desc:
                           Exhibit N Page 23 of 43
                                                                                   EXECUTION COPY


  Oversight Board, on behalf of itself and on behalf ofPREPA,(b) with respect to National, the
  execution and delivery ofthe applicable signature page by National, and (c) in the sole and
  absolute discretion ofthe Oversight Board, with respect to any joining monoline, the execution
  and delivery ofthe applicable signature page by such monoline. In the event that National does
  not execute and deliver such signature page by January 31, 2023, it shall be deemed to have
  declined to be a party hereto and for all purposes shall not be a party and shall have no benefits,
  rights or obligations hereunder. Subject to the foregoing, the terms ofthis Agreement shall be
  effective as to National and, in the sole and absolute discretion ofthe Oversight Board, any
  joining monoline, in each case solely as to itself, including with respect to termination rights.

          Section 7.2    Termination of Agreement.

          (a)      This Agreement may be terminated by National, at its sole option and discretion
   and upon written notice to the other Parties, if(i)the Oversight Board fails to comply with any of
   its respective covenants in Article IV hereof or any of its undertakings in this Agreement, if such
   failure to comply has or would have a materially adverse impact on National, including a
   materially adverse impact in the treatment afforded to National pursuant to the Amended Plan
 (including any applicable settlement under the Amended Plan or changes to the legal protections
   set forth in Section 4.4(c) hereof), or to the definition or calculation of Consummation Costs that
   would have a materially adverse impact on National,(ii) the Oversight Board files or supports,
   directly or indirectly, any motion or pleading with the Title III Court, in each case, that is
   inconsistent with this Agreement, including the Amended Plan in a materially adverse respect
 (including treatment under the Amended Plan or any applicable settlement under the Amended
  Plan, or to the definition or calculation of Consummation Costs) before the earlier to occur of(y)
  five (5)Business Days after the Oversight Board receives written notice from another Party (in
  accordance with the notice provisions set forth in Section 8.11 hereof) that such motion or
  pleading is inconsistent with this Agreement in such materially adverse respect and (z)entry of
  an order ofthe Title III Court granting such motion or pleading,(iii) the entry of a Final Order in
  the PREPA PROMESA Proceeding has a material adverse effect on the confirmability of the
  Amended Plan; provided, however,that, under no circumstances may this Agreement be
  terminated by National if either(y)(a)one or more parties in interest in the PREPA PROMESA
  Case objects to confirmation ofthe Amended Plan or the settlement of National's claims
  embodied in the Amended Plan for reasons including, without limitation, its treatment or
  allowability of such Settled Reimbursement Claims or(b)the Title III Court considers either
  issue sua sponte or pursuant to an objection, and, in either case, the Title III Court does not
  approve the settlement or finds unfair discrimination for reasons, including, without limitation,
  the allowability and/or treatment ofthe Settled Reimbursement Claims, and the Oversight Board
  eliminates any payments for debt service and any legal, consummation or other fees arising from,
  relating to, or on account of, the Settled Reimbursement Claim, or (z)PREB declines to grant the
  request for the Interim Charge,(iv)the Title III Court dismisses the PREPA PROMESA Case,
 (v)the PREPA Confirmation Order is reversed, dismissed, or vacated without the consent ofthe
 PSA Creditors and the Title III Court does not enter a revised order confirming the Amended
 Plan that is acceptable to the Oversight Board and National within ninety(90)days after such
  reversal, dismissal, or vacatur,(vi)the PREPA Disclosure Statement has not been approved by
 the Title III Court on or prior to April 30, 2023,(vii) the PREPA Confirmation Order has not
  been entered by the Title III Court on or prior to August 31, 2023,(viii) the PREPA Effective
 Date does not occur by December 1, 2023 or such later date and on such terms as agreed to by

                                                  22
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                           Desc:
                           Exhibit N Page 24 of 43
                                                                                  EXECUTION COPY


  the Fuel Line Lender PSA Creditors pursuant to the Fuel Line Lender PSA, but in no event later
  than June 30, 2024,(ix)PREB does not approve the Legacy Charge, or(x)the Oversight Board
  publicly disavows any ofthe terms set forth in this Agreement, including the Settlement
  Summary, or enters into or publicly supports a proposed transaction materially inconsistent with
  such terms; provided, however,that, notwithstanding anything contained herein to the contrary,
  this Agreement may not be terminated by National solely for the reason that the Title III Court
  disallows the Settled Reimbursement Claims or does not approve the settlement ofthe Settled
  Reimbursement Claims on the terms set forth herein or that PREB declines to approve the
  Interim Charge.

         (b)       This Agreement may be terminated at any time prior to the PREPA Effective Date
 (y)as to all Parties, upon written notice to the other Parties by the Oversight Board, or(z) solely
  as to itself, upon written notice to the Oversight Board by National in the event that (i) any other
  Party has failed to comply with any of its respective covenants set forth in Article IV hereof or
  any of its other undertakings in this Agreement, and such non-compliance has a material adverse
  effect on confirmability ofthe Amended Plan,(ii) a court order shall be entered, and such order
  shall not be reversed or otherwise consensually resolved in a manner satisfactory to the
  Government Parties, and such order in the light ofthe totality of circumstances, has a material
  adverse effect on the confirmability of the Amended Plan or renders consummation ofthe
  Amended Plan impracticable; provided, however, that, in the event that the treatment to be
  provided with respect to the Settled Reimbursement Claims or the receipt of any CVI in
  accordance with the terms hereof, renders the Amended Plan unconfirmable, the Oversight
  Board may delete such treatment from the Amended Plan, and such action shall not give rise to a
  right oftermination ofthis Agreement as to any Party, so long as the Oversight Board and
  National have agreed upon an alternative methodology sufficient to render the Amended Plan
  confirmable while providing National equal economic treatment contemplated to this Agreement
  and the Settlement Summary (as pertains to any CVI),(iii) the Title III Court or such other court
  ofcompetentjurisdiction enters a Final Order(A)denying confirmation ofthe Amended Plan, or
 (B)in order to confirm the Amended Plan, requiring the Oversight Board to further amend the
  Amended Plan with respect to any provision set forth in the Settlement Summary, and the
  Oversight Board determines, in its sole and absolute discretion, to terminate this Agreement,(iv)
  the economic situation of either the Commonwealth or PREPA suffers a material adverse change
  which, in light ofthe totality ofthe circumstances, renders the confirmation ofthe Amended Plan
  not feasible or consummation ofthe Amended Plan impracticable, or(v)a court of competent
 jurisdiction issues a ruling,judgment, or order making illegal or otherwise preventing or
  prohibiting the consummation ofthe Amended Plan, which ruling,judgment, or order has not
  been reversed or vacated within sixty (60)calendar days after such issuance and is not subject to
  a stay; and, provided,further,that, under no circumstances may this Agreement be terminated by
 National in the event that either(y)(a) one or more parties in interest in the PREPA PROMESA
 Case objects to confirmation ofthe Amended Plan or the settlement of National's claims
 embodied in the Amended Plan for reasons, including, without limitation, its treatment or
 allowability of such Settled Reimbursement Claims, or(b)the Title III Court considers either
 issue sua sponte or pursuant to an objection, and, in either case, the Title III Court does not
 approve the settlement or finds unfair discrimination for reasons, including, without limitation,
 the allowability and/or treatment ofthe Settled Reimbursement Claims, and the Oversight Board
 eliminates any payments for debt service and any legal, consummation or other fees arising from,
 relating to, or on account of, the Settled Reimbursement Claim, or (z)PREB declines to grant the

                                                  23
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                            Desc:
                           Exhibit N Page 25 of 43
                                                                                   EXECUTION COPY


  request for the Interim Charge; provided, however,that, notwithstanding anything contained
  herein to the contrary, this Agreement may not be terminated by National solely for the reason
  that the Title III Court disallows the Settled Reimbursement Claims or does not approve the
  settlement ofthe Settled Reimbursement Claims on the terms set forth herein or that PREB
  declines to approve the Interim Charge.

         (c)       Without limiting the rights of National under any other provision in this
  Agreement, National may, in its sole discretion, terminate this Agreement if(i)the Oversight
  Board(A)modifies any ofthe provisions in the Amended Plan and any such modification
  materially adversely impacts the treatment afforded National in the Amended Plan or(B)files
  the Amended Plan and such plan of adjustment and the securities design features ofthe New
  PREPA Bonds are inconsistent with the treatment set forth in this Agreement), in each case,
  without the consent of National; provided, however,that, under no circumstances may this
  Agreement be terminated by National in the event that either(y)(a)one or more parties in
  interest in the PREPA PROMESA Case objects to confirmation ofthe Amended Plan or the
  settlement of National's claims embodied in the Amended Plan for reasons, including, without
  limitation, its treatment or allowability of such Settled Reimbursement Claims, or(b)the Title III
  Court considers either issue sua sponte or pursuant to an objection, and, in either case, the Title
  III Court does not approve the settlement or finds unfair discrimination for reasons, including,
  without limitation, the allowability and/or treatment ofthe Settled Reimbursement Claims and
  the Oversight Board eliminates any payments for debt service and any legal, consummation or
  other fees arising from, relating to, or on account of, the Settled Reimbursement Claim, or(z)
  PREB declines to grant the request for the Interim Charge.

        (d)       The automatic stay under sections 362 and 922 ofthe Bankruptcy Code, made
  applicable to the PREPA PROMESA Case pursuant to Section 301 ofPROMESA,shall not
  prohibit a Party from taking any action necessary to effectuate the termination ofthis Agreement
  pursuant to and in accordance with the terms hereof.

         (e)       This Agreement shall automatically terminate as to all Parties upon the
  occurrence ofthe PREPA Effective Date except with respect to any actions ofthe Parties that are
  expressly set forth herein to occur after the PREPA Effective Date; provided, however,that, for
  all purposes ofthis Section 7.2, the treatment to be afforded to all classes of claims other than
  those described in Exhibit"B" hereto shall not constitute a materially adverse impact on any
  PSA Creditor; and, provided,further,that, in the event that National terminates this Agreement
  solely as to itself, National may not object to confirmation ofthe Amended Plan or otherwise
  oppose any motion or application on the basis ofthe payment of Consummation Costs to a non-
  terminating PSA Creditor, as applicable, provided by Article VI hereof and the Amended Plan.

           Section 7.3 Effect of Termination. Except as otherwise provided herein, in the event
  ofthe termination ofthis Agreement as to any Party,(a)this Agreement shall become null and
  void and be deemed of no force and effect, with no liability on the part of such Party or any of its
  affiliates (or of any oftheir respective directors, officers, employees, consultants, contractors,
  advisory clients, agents, legal and financial advisors or other representatives of such Party or its
  affiliates),(b)such Party shall not have any obligations to any other Party arising out of, and
  shall have no further rights, benefits or privileges under, this Agreement(including, without
  limitation, any rights to Consummation Costs except as provided in accordance with the

                                                  24
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                              Desc:
                           Exhibit N Page 26 of 43
                                                                                    EXECUTION COPY


   provisions ofthe Amended Plan), except for the obligations and/or provisions set forth in
   Sections 2.1, 7.2, 7.3, 8.3, 8.4, 8.8, 8.13 and 8.15 hereof and this clause (b) of Section 7.3, which
   provisions are intended to survive the expiration or termination ofthis Agreement and shall
  continue in full force and effect in accordance with the terms hereof; provided, however,that any
  liability of a Party for failure to comply with the terms ofthis Agreement prior to the date of
  such expiration or termination shall survive such expiration or termination, and (c)such Party
  shall have all the rights and remedies that it would have had, and be entitled to take all actions
  that it would have been entitled to take, had it not entered into this Agreement and no such rights
  shall be deemed waived pursuant to a claim of laches or estoppel, and the Parties agree to waive,
  and not raise as a defense, the applicable statute of limitations for any claim, litigation,
  proceeding, action or matter against another Party barred by this Agreement as though such
  statute of limitations had been tolled during such time that this Agreement was binding on the
  Party then asserting such claim, litigation, proceeding, action, or matter; provided, however,that
  in no event shall any such termination relieve such Party from liability for its breach or non-
  performance of its obligations hereunder prior to the date of such expiration or termination; and,
  provided,further,that, unless otherwise ordered by the Title III Court, upon notice to such
  terminating Party, any and all consents, ballots and votes tendered by such Party prior to such
  expiration or termination shall be deemed to be, for all purposes, automatically null and void ab
  initio, and shall not be considered or otherwise used in any manner by the Parties in connection
  with the Amended Plan, this Agreement or otherwise; and, provided,further,that, termination of
  this Agreement shall have no effect on any rights provided pursuant to the with the Amended
  Plan. Except in connection with a dispute concerning a breach of this Agreement or the
  interpretation ofthe terms hereof upon termination,(y) neither this Agreement nor any terms or
  provisions set forth herein shall be admissible in any dispute, litigation, proceeding or
  controversy among the Parties and nothing contained herein shall constitute or be deemed to be
  an admission by any Party as to any matter, it being understood that the statements and
  resolutions reached herein were the result of negotiations and compromises ofthe respective
  positions ofthe Parties and (z) no Party shall seek to take discovery concerning this Agreement
  or admit this Agreement or any part of it into evidence against any other Party hereto.

         Section 7.4 Post-Effective Date Obligations. In addition to the surviving obligations
  and provisions listed in Section 7.3(b) hereof, the obligations and/or provisions set forth in
  Sections 4.1(h), 4.1(i), 4.2(j), and 4.2(k) shall survive the automatic termination ofthis
  Agreement pursuant to Section 7.2(d) hereof.

                                            ARTICLE VIII

                                          MISCELLANEOUS

          Section 8.1     Amendments. This Agreement, may not be modified, amended, or
  supplemented except by a written agreement executed by the Government Parties that are Parties
  hereto, on the one hand, and National on the other hand; provided, however,that National may
  agree, in its sole and absolute discretion, to any modification, amendment or supplement that
  impacts National only.

         Section 8.2      Most Favored Nations. Notwithstanding anything contained herein to the
  contrary, in the event that, prior to the earlier of any substantive ruling on the claims and

                                                   25
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                            Desc:
                           Exhibit N Page 27 of 43
                                                                                   EXECUTION COPY


  counterclaims asserted in the Adversary that holders ofPREPA Revenue Bonds are secured by
  revenues outside ofthe Sinking Fund and an indication or a determination, either oral or written,
  at a hearing or otherwise, by the Title III Court that the holders ofPREPA Revenue Bonds are
  secured by revenues outside ofthe Sinking Fund, the Oversight Board reaches and enters into
  any agreements with any holder or insurer ofPREPA Revenue Bonds (other than National)
  which provide (or the Amended Plan provides) for the settlement or Amended Plan treatment
  that, in the sole discretion of National, is more economically favorable to any PREPA Revenue
  Bond Claim than the treatment set forth in the Settlement Summary, then (a) National shall have
  the right to elect to receive such treatment pursuant to the Amended Plan in lieu ofthe terms set
  forth herein and in the Settlement Summary,(b) unless the Oversight Board determines, in its
  sole and absolute discretion, any such election shall not require or result in a change in the
  classification provided in any plan of adjustment, and (c)such election shall apply to all claims
  in the class including, without limitation, any claims not held by National; provided, however,
  that treatment of customary "Convenience Claims", as defined in the Amended Plan, shall be
  exempt from this provision; and, provided,further,the payment of any premium paid to National
  in connection with providing insurance with respect to the refunding of any New PREPA Bonds
  shall be exempt from this provision; and, provided,further,that, National shall at all times not be
  entitled to share in excess funds, if any, as set forth in the Amended Plan for all settling
  bondholders.

          Section 8.3    No Admission ofLiability.

         (a)      The execution ofthis Agreement is not intended to be, nor shall it be construed as,
  an admission or evidence in any pending or subsequent suit, action, proceeding or dispute of any
  liability, wrongdoing, or obligation whatsoever (including as to the merits of any claim or
  defense) by any Party to any other Party or any other person with respect to any ofthe matters
  addressed in this Agreement.

         (b)      None ofthis Agreement(including, without limitation, the Recitals and Exhibits
  hereto), the settlement or any act performed or document executed pursuant to or in furtherance
  ofthis Agreement or the settlement:(i) is or may be deemed to be or may be used as an
  admission or evidence ofthe validity of any claim, or any allegation made in the Adversary, the
  Fuel Line Adversary, the Renewed Receiver Motion, the Sistema Adversary, the UCC Objection,
  or of any wrongdoing or liability of any Party;(ii) is or may be deemed to be or may be used as
  an admission or evidence of any liability, fault or omission of any Party in any civil, criminal or
  administrative proceeding in any court, administrative agency or other tribunal; or (iii) is or may
  be deemed to be or used as an admission or evidence against the Commonwealth or PREPA with
  respect to the validity of any ofthe PREPA Revenue Bonds. None ofthis Agreement, the
  settlement, or any act performed or document executed pursuant to or in furtherance of this
  Agreement or the settlement herein shall be admissible in any proceeding for any purposes,
  except to enforce the terms ofthe Agreement.

          Section 8.4 Good Faith Negotiations. The Parties recognize and acknowledge that
  each ofthe Parties hereto is represented by counsel, and such Party received independent legal
  advice with respect to the advisability of entering into this Agreement; the negotiations related to
  this Agreement were conducted regularly and at arm's length; this Agreement is made and
  executed by and of each Party's own free will; and each Party knows all ofthe relevant facts and

                                                  26
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                            Desc:
                           Exhibit N Page 28 of 43
                                                                                   EXECUTION COPY


  his, her or its rights in connection therewith, and that he, she or it has not been improperly
  influenced or induced to make this settlement as a result of any act or action on the part of any
  party or employee, agent, attorney or representative of any party to this Agreement. The Parties
  further acknowledge that they entered into this Agreement because oftheir desire to avoid the
  further expense and inconvenience of litigation and other disputes, and to compromise
  permanently and settle the claims between the Parties settled by the execution ofthis Agreement.
  The Parties further acknowledge and agree that, in connection with the PROMESA Cases and
  the negotiation and consummation ofthis Agreement, including, without limitation, the
  Amended Plan, each ofthe Parties and their respective advisors, at all times, acted (a)in good
  faith and (b)solely for themselves and not on behalf of or in representation of any other
  creditors, bondholders or other parties in interest.

          Section 8.5    Third Party Beneficiary. Nothing in this Agreement, express or implied, is
  intended or shall be construed to confer upon, or to give to, any person other than the Parties
  hereto, and their respective successors and assigns, any right, remedy or claim under or by reason
  ofthis Agreement or any covenant, condition or stipulation thereof; and the covenants,
  stipulations and agreements contained in this Agreement are and shall be for the sole and
  exclusive benefit ofthe Parties hereto and their respective successors and assigns.

          Section 8.6      Gover ning Law; Retention of Jurisdiction; Service ofProcess. This
   Agreement shall be governed by and construed in accordance with the internal laws ofthe State
  of New York and applicable federal law, without giving effect to the principles of conflicts of
   laws that would require the application ofthe law of any other jurisdiction. By its execution and
  delivery ofthis Agreement, each ofthe Parties hereby irrevocably and unconditionally covenants
  for itself that any legal action, suit or proceeding between any or all ofthe foregoing with respect
  to any matter under or arising out of or in connection with this Agreement or for recognition or
  enforcement of any judgment rendered in any such action, suit or proceeding, shall be brought in
  the Title III Court for that purpose only, and, by execution and delivery ofthis Agreement, each
  hereby irrevocably accepts and submits itself to the jurisdiction of such court, generally and
  unconditionally, with respect to any such action, suit or proceeding, subject to a Party's rights
  pursuant to applicable law. If any such action, suit or proceeding is commenced, each ofthe
  Parties hereby (a) covenants and consents that service of process may be made, and personal
  jurisdiction over any Party hereto in any such action, suit or proceeding may be obtained, by
  service of a copy of the summons, complaint and other pleadings required to commence such
  action, suit or proceeding upon the Party at the address of such Party set forth in Section 8.11
  hereof, unless another address has been designated by such Party in a notice given to the other
  Parties in accordance with Section 8.11 hereof and (b) waives to the fullest extent permitted by
  applicable law, any right it may have to a trial by jury in any legal proceeding directly or
  indirectly arising from or relating to this Agreement and the representations, covenants and other
  obligations set forth herein.

          Section 8.7 Headings. The headings ofthe sections, paragraphs and subsections of
  this Agreement are inserted for convenience only and are not part ofthis Agreement and do not
  in any way modify the terms or provisions of this Agreement and shall not affect the
  interpretation hereof.



                                                  27
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                           Desc:
                           Exhibit N Page 29 of 43
                                                                                 EXECUTION COPY



          Section 8.8 Binding Agreement; Successors and Assigns. This Agreement is intended
  to, and shall be effective and binding only upon the execution and delivery of this Agreement by
  the Parties listed on the signature pages hereto. This Agreement is intended to, and shall be
  deemed to, bind and inure to the benefit ofthe Parties and their respective successors, assigns,
  administrators, constituents and representatives. The agreements, representations, covenants and
  obligations ofthe Parties under this Agreement are several only and notjoint in any respect and
  none shall be responsible for the performance or breach of this Agreement by another. If any
  provision ofthis Agreement, or the application of any such provision to any person or entity or
  circumstance, shall be held invalid or unenforceable, in whole or in part, such invalidity or
  unenforceability shall attach only to such provision or part thereof and the remaining part of such
  provision hereof and this Agreement shall continue in full force and effect so long as the
  economic and legal substance ofthe transactions contemplated herein or in the Amended Plan
  are not affected in any manner materially adverse to any Party. Upon any such determination of
  invalidity, the Parties shall negotiate in good faith to modify this Agreement so as to effect the
  original intent ofthe Parties as closely as possible in a reasonably acceptable manner so that the
  transactions contemplated herein are consummated as originally contemplated to the greatest
  extent possible. Notwithstanding the foregoing,(a) unless otherwise agreed to by the Parties,
  provisions herein providing payment ofthe Consummation Costs are integral parts of this
  Agreement and cannot be severed and (b) nothing contained herein is intended to bind, and shall
  not be deemed to bind, any buyers or assignees ofthe Transferred Bonds and/or the Transferred
  Claims.

          Section 8.9 Entire Agreement. This Agreement, including, without limitation, the
  Amended Plan, constitutes the full and entire agreement among the Parties with regard to the
  subject hereof and the Amended Plan, and supersedes all prior negotiations, representations,
  promises or warranties (oral or otherwise) made by any Party with respect to the subject matter
  hereof. No Party has entered into this Agreement in reliance on any other Party's prior
  representation, promise or warranty (oral or otherwise) except for those that may be expressly set
  forth in this Agreement.

          Section 8.10 Counterparts. This Agreement may be executed in one or more
  counterparts, each of which shall be deemed an original copy ofthis Agreement and all of which,
  when taken together, shall constitute one and the same Agreement. Copies of executed
  counterparts transmitted by telecopy or other electronic transmission service shall be considered
  original executed counterparts, provided receipt of copies of such counterparts is confirmed.

           Section 8.11 Notices. All demands, notices, requests, consents, and other
  communications hereunder shall be in writing and shall be deemed to have been duly given (i)
  when personally delivered by courier service or messenger,(ii) upon actual receipt(as
  established by confirmation of receipt or otherwise) during normal business hours, otherwise on
  the first business day thereafter iftransmitted electronically(by e-mail transmission), by
  facsimile or telecopier, with confirmation of receipt, or (iii) three(3)Business Days after being
  duly deposited in the mail, by certified or registered mail, postage prepaid- return receipt
  requested, to the following addresses, or such other addresses as may be furnished hereafter by
  notice in writing, to the following Parties:



                                                  28
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                                Desc:
                           Exhibit N Page 30 of 43
                                                                                    EXECUTION COPY



                   (a)           Ifto the Oversight Board,the Commonwealth or
                                 PREPA,to:

                                 PROSKAUER ROSE LLP
                                 Eleven Times Square
                                 New York, NY 10036
                                 Attn: Martin J. Bienenstock, Esq.
                                 Email: mbienenstock@proskauer.com
                                 Brian S. Rosen, Esq.
                                 Email: brosen@proskauer.com
                                 Ehud Barak, Esq.
                                 Email: ebarak@proskauer.com
                                 Paul Possinger, Esq,
                                 Email: ppossinger@proskauer.com
                                 Facsimile: 212-969-2900


                  (b)            Ifto AAFAF,to:

                                 O'MELVENY & MEYERS LLP
                                 Seven Times Square
                                 New York, NY 10036
                                 Attn: John Rapisardi, Esq.
                                 Email: jrapisardi@omm.com
                                 Maria J. DiConza, Esq.
                                 Email: mdiconza@omm.com
                                 Facsimile: 212-326-2061


                  (c)             If to National, to:

                                 WEIL, GOTSHAL & MANGES LLP
                                 767 Fifth Avenue
                                 New York, NY 10153
                                 Attn: Matthew S. Barr, Esq.
                                 Attn: Gabriel Morgan, Esq.
                                 Email: matt.barr@weil.com
                                 Email: Gabriel.morgan@weil.com



          Section 8.12 Non-Waiver ofRemedies. Except as expressly provided in this
  Agreement, nothing contained herein is intended, nor shall it be construed in any manner, to
  waive, limit, impair or restrict any right or ability ofthe Parties to protect and preserve each of
  their rights, remedies and interests, contractual or otherwise, under the Bond Resolutions, Title
  III or any other provision ofPROMESA or any other law or regulation.


                                                   29
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                               Desc:
                           Exhibit N Page 31 of 43
                                                                                  EXECUTION COPY



          Section 8.13 Several, Not, Joint Obligations. The agreements, representations,
  covenants and other obligations ofthe Parties set forth in this Agreement are, in all respects,
  several and not joint.

         Section 8.14 Remedies Cumulative. All rights, powers and remedies provided in
  accordance with the terms and provisions of this Agreement or otherwise available in respect
  hereof of law or in equity shall be cumulative and not alternative, and the exercise of any right,
  power or remedy thereof by any Party shall not preclude the contemporaneous or later exercise
  ofany other such right, power or remedy by any such Party.

          Section 8.15 Specific Performance. Each ofthe Parties covenants and understands that
  money damages are an insufficient remedy for any breach ofthis Agreement by any Party and
  each non-breaching Party shall be entitled to seek specific performance and injunctive or other
  equitable relief as a remedy of any such breach of this Agreement, including, without limitation,
  an order ofthe Title III Court or such other court of competent jurisdiction requiring any Party to
  comply promptly with any of its obligations hereunder. Notwithstanding anything contained in
  this Agreement to the contrary, specific performance and injunctive or other similar relief and
  the right to terminate this Agreement in accordance with the terms and provisions hereof shall be
  the sole and exclusive remedies for any breach of this Agreement by any Party (or any other
  person) and no Party (or any other person) shall be entitled to monetary damages for any breach
  of any provision ofthis Agreement; provided, however,that, in the event the Agreement is
  terminated in accordance with the terms and provisions of Section 7.2 hereof, the sole remedy
 (other than to enforce provisions ofthis Agreement that survive termination hereof) shall be the
  payment of the fees set forth in Section 6.1(b) hereof, as applicable.

          Section 8.16 Further Assurances. Each ofthe Parties hereto covenants to execute and
  deliver, or to cause to be executed and delivered, such instruments, and to take such action as the
  other Parties may reasonably request in order to effectuate the intent and purposes of, and to
  carry out the terms of, this Agreement.




                                                  30
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00          Desc:
                           Exhibit N Page 32 of 43



         IN WITNESS WHEREOF,the Parties hereto have caused this Agreement to be
  executed as ofthe date set forth above.


                                  FINANCIAL OVERSIGHT AND MANAGEMENT
                                  BOARD FOR PUERTO RICO

                                                  1
                                  By:
                                  Name: Robert F. Mujica Jr.
                                  Title: Executive Director



                                  THE PUERTO RICO ELECTRIC POWER AUTHORITY


                                  By: Financial Oversight and Management
                                  Board for Puerto Rico, as representative
                                  ofthe Puerto Rico Electric Power Authority



                                             -
                                  By:     ,,
                                  Name: Robert F. Mujica Jr.
                                  Title: Executive Director




                                           31
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Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00   Desc:
                           Exhibit N Page 33 of 43



  NATIONAL PUBLIC FINANCE GUARANTEE CORPORATION



  By:
  Name: Patricia Ferrari
  Title: Managing Director




                    [Signature Page to PREPA Plan Support Agreement]
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00   Desc:
                           Exhibit N Page 34 of 43



                                  EXHIBIT A

                         Schedule ofPREPA Revenue Bonds




                                    Page 33
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                                                                  Desc:
                SUMMARY OF Exhibit N Page 35 PREPA
                             OUTSTANDING     of 43 BONDS1


                                                              Range of       Final                               Asserted Principal &
                        Issue                        Interest Rates for   Maturity   Asserted Principal as of   Interest as of Petition
    Series              Date     Amount Issued     Outstanding Bonds         Date              Petition Date                      Date
    SERIES JJ          1/3/02       720,370,000     5.375% - 5.375%        7/1/18                42,315,000                43,452,216
    SERIES LL         7/2/02        499,910,000     5.500% - 5.500%        7/1/19                77,905,000                80,047,388
    SERIES MM        10/3/02        105,055,000     5.000% - 5.000%        7/1/23                56,200,000                57,605,000
    SERIES NN        8/19/03        517,305,000     4.750% - 5.500%        7/1/33               171,525,000               175,942,925
    SERIES PP        8/26/04        224,700,000     3.750% - 5.000%        7/1/25                84,765,000                86,875,446
    SERIES QQ         4/4/05        224,700,000     5.500% - 5.500%        7/1/18                35,340,000                36,311,850
    SERIES RR         4/4/05       993,450,000      5.000% - 5.000%        7/1/28               236,265,000              242,171,625
    SERIES SS         4/4/05       993,450,000      3.875% - 5.000%        7/1/30               332,205,000              340,436,128
    SERIES TT         5/3/07      1,943,565,000     4.200% - 5.250%        7/1/37               622,085,000              637,570,581
    SERIES UU         5/3/07      1,943,565,000     1.189% - 5.000%        7/1/31               777,280,000              789,310,979
    SERIES VV       5/30/07        557,410,000      5.250% - 5.500%        7/1/35               546,645,000              561,018,444
    SERIES WW       6/26/08        697,345,000      5.000% - 5.500%        7/1/38               610,140,000              626,460,619
    SERIES XX         4/7/10       822,210,000      4.625% - 5.750%        7/1/40               822,210,000              843,980,338
    SERIES YY       4/29/10        320,175,000      6.125% - 6.125%        7/1/40               320,175,000              325,077,680
    SERIES AAA        5/5/10       363,075,000      5.250% - 5.250%        7/1/31               363,075,000              372,605,719
    SERIES ZZ         5/5/10       631,160,000      3.700% - 5.250%        7/1/28               514,900,000              528,076,798
    SERIES BBB      5/26/10          76,800,000     5.400% - 5.400%        7/1/28                76,800,000                77,836,800
    SERIES CCC      5/26/10        316,920,000      4.250% - 5.250%        7/1/28               316,920,000              325,033,941
    SERIES DDD     10/14/10        218,225,000      3.300% - 5.000%        7/1/24               218,225,000              223,144,738
    SERIES EEE     12/29/10        355,730,000      5.950% - 6.250%        7/1/40               355,730,000              361,133,935
    SERIES 2012A      5/1/12       650,000,000      4.800% - 5.050%        7/1/42              630,110,000               645,848,240
    SERIES 2013A    8/21/13        673,145,000      6.750% - 7.250%        7/1/43              673,145,000               696,364,450
    Series 2016A    5/19/16          55,639,539   10.000% - 10.000%        7/1/19                55,639,539                58,421,516
    Series 2016B    6/22/16          55,210,625   10.000% - 10.000%        7/1/19                55,210,625                57,971,156
    Series 2016C    6/30/16        104,600,000      5.400% - 5.400%        7/1/20               104,600,000              110,264,090
    Series 2016D    6/30/16          64,375,560     7.500% - 7.500%        7/1/20                64,375,560                69,217,139
    Series 2016E    6/30/16          94,828,424   10.000% - 10.000%        7/1/22                94,828,424              104,337,608
    Total                       14,222,919,148                                               8,258,614,148             8,476,517,345
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00   Desc:
                           Exhibit N Page 36 of 43



                                  EXHIBIT B

                               Settlement Summary




                                    Page 34
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                     Desc:
                           Exhibit N Page 37 of 43



                                SETTLEMENT SUMMARY


       CLAIM        ■ On the PREPA Effective Date, National's claims, other than its Settled
     ALLOWANCE        Reimbursement Claim, will be deemed allowed in the amount of
                      $836,145,928.13 (the "National Bond Claim Amount" or the "Bond
                      Claim Amount").
   EXCHANGE RATIO   ■ 71.65% ofthe Bond Claim Amount,to be paid in Series B Bonds.

   REIMBURSEMENT    ■ 20.0% ofthe Settled Reimbursement Claim Amount,to be paid in
       CLAIM          Series B Bonds, as defined in the Amended Plan; provided, however,
                      that,(a) if one or more parties in interest in the PREPA PROMESA
                      Case objects to confirmation ofthe Amended Plan or the settlement of
                      National's claims embodied in the Amended Plan for reasons,
                      including, without limitation, its treatment or allowability ofthe
                      Settled Reimbursement Claim, or(b)if the Title III Court considers
                      either issue sua sponte or pursuant to an objection, and, in either case,
                      the Title III Court does not approve the settlement or finds unfair
                      discrimination for reasons including, without limitation, the
                      allowability and/or treatment ofthe Settled Reimbursement Claims,
                      the settlement and the treatment of National's claims shall, without
                      further action, convert to a settlement of National's claims that
                      eliminates the obligation to issue Series B Bonds on account ofthe
                      Settled Reimbursement Claims and any payments for debt service and
                      any legal, consummation, or other fees arising from, relating to, or on
                      account ofthe Settled Reimbursement Claims; and, provided, further,
                      that in such circumstance, National shall have the option to forego all
                      consideration under this Agreement, including the Consummation
                      Costs and Structuring Fees, and, in exchange, receive the same
                      treatment as another settling class of holders ofPREPA Revenue Bond
                      claims, so long as the settlement with such class whose recovery
                      National would receive was reached prior to the earlier to occur of(y)
                      any substantive ruling on the claims and counterclaims asserted in the
                      Adversary that holders of PREPA Revenue Bonds are secured by
                      Revenues outside ofthe Sinking Fund, and (z) an indication or a
                      determination, either oral or written, at a hearing or otherwise, by the
                      Title III Court that the Holders ofPREPA Revenue Bonds are secured
                      by Revenues outside ofthe Sinking Fund.
   CONSUMMATION     ■ On the PREPA Effective Date, PREPA, as reorganized ("Reorganized
      COSTS           PREPA"), shall pay to National, as the case may be, an amount equal
                      three percent(3%)times the National Bond Claim Amount, in Cash or
                      Series B Bonds, elected in the sole discretion ofthe Oversight Board,
                      which election shall be made at or prior to the commencement ofthe
                      PREPA Confirmation Hearing.



                                         Page 35
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                    Desc:
                           Exhibit N Page 38 of 43



     STRUCTURING    ■ On the PREPA Effective Date, Reorganized PREPA shall pay to
        FEES          National 2.86% times the National Bond Claim Amount, in Cash or
                      Series B Bonds, elected in the sole discretion ofthe Oversight Board,
                      which election shall be made at or prior to the commencement ofthe
                      PREPA Confirmation Hearing.

   INTERIM CHARGE   ■ Subject to necessary approvals from PREB, as applicable, from and
                      after the effectiveness ofthe Agreement and the collection ofthe
                      charge up to, but not including, the PREPA Effective Date, National
                      shall receive the equivalent amount ofthe interest on its existing
                      PREPA Revenue Bond Claims payable from, and not to exceed, its pro
                      rata share ofthe revenues generated from the equivalent of a one cent
                     ($0.01)/KWH volumetric charge from the effective date ofthis
                      Agreement times the Insured Bond Claims divided by the PREPA
                      Revenue Bond Claims, which shall imposed by PREPA; provided,
                      however, that, in the event that PREB approval is not obtained,
                      PREPA shall not be obligated to make an Interim Payment; and,
                      provided, further, that cumulative revenues received by National shall
                      not exceed National's existing coupon during the period from the
                      Agreement effective date up to, but not including, the PREPA
                      Effective Date; and, provided, further, that, in the event that National
                      receives amounts associated with the Interim Charge and the Amended
                      Plan is neither confirmed nor consummated, any amounts received by
                      National with respect to the Interim Charge shall be, and shall be
                      deemed to constitute, a reduction ofthe distributions to be received by
                      National pursuant to (i) any future plan of adjustment for PREPA or
                     (ii) settlement, litigation, or other resolution of National's claims on
                      account ofthe principal amount of the National Insured Bonds without
                      further order ofthe Title III Court.

      NEW BONDS     ■ On the PREPA Effective Date, Reorganized PREPA shall issue to
                      PREPA's creditors only Series A Bonds and Series B Bonds (together
                      with Series A Bonds, as defined in the Amended Plan, the "New
                      Bonds") as set forth on Schedule 1 hereto or other bonds as long as
                      such other bonds(a) are consistent with the additional bonds test set
                      forth in the New Master Indenture,(b) are not secured by the Legacy
                      Charge or Remaining Legacy Charge during the applicable periods,
                      and (c)do not in any way affect the terms ofthe Series B Bonds as set
                      forth in this Settlement Summary.
                    ■ Reorganized PREPA shall not issue any Series A Bonds to any parties
                      other than those to be issued pursuant to the Initial Plan and the Fuel
                      Line Lender PSA.
   LEGACY CHARGE    ■ Legacy Charge shall have the meaning and terms in the Initial Plan, as
                      amended consistent with the provisions ofthis Agreement, and shall



                                         Page 36
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                       Desc:
                           Exhibit N Page 39 of 43



                       refer to the hybrid connection charge and volumetric charge to be
                       added to customers' bills to pay the New Bonds.
       SECURITY     ■ The New Bonds shall be secured by, and paid solely from,
                      Reorganized PREPA's Net Revenues, as defined in the Initial Plan,
                      and the right to receive such net revenues, up to the amount ofthe
                      Legacy Charge revenues, in accordance with the Payment Waterfall, as
                      defined in the Initial Plan. For the avoidance of doubt, the New
                      Bonds' liens are not limited to the net revenues deposited into the Debt
                      Service Fund, as defined in the Initial Plan.
       PAYMENT      ■ There shall be no event of default on the New Bonds for failure to pay
       DEFAULT        scheduled debt service prior to the final maturity thereof, as applicable,
                      so long as Reorganized PREPA (a) charges and employs its reasonable
                      best efforts to collect revenues generated by the Legacy Charge, and
                      the full amount collected under the Legacy Charge is deposited into
                      the Debt Service Fund in accordance with the Payment Waterfall and
                     (b)complies with the Interest Rate Covenant, each as defined in the
                      New Master Indenture.
      REMEDIES      ■ Upon the occurrence of an event of default, the New Master Trustee's
                      sole remedies shall be to:(a) seek enforcement of Reorganized
                      PREPA's obligation to take reasonable measures to collect Revenues
                      generated by the Legacy Charge and deposit such monies received into
                      the Debt Service Fund in accordance with the Payment Waterfall,
                      and/or(b) prior to the final maturity thereof, as applicable, at the
                      request of holders oftwenty-five percent(25%)or more ofthe Series
                      A Bonds or the Series B Bonds, enforce the Interest Rate Covenant.
                    ■ The Amended Plan and the New Master Indenture shall provide the
                      "Right to Receivership Upon Default," codified at 22 L.P.R.A. § 207,
                      is preempted and waived. There shall be no right of acceleration under
                      the New Bonds other than an acceleration in connection with an
                      insolvency proceeding (including under Title III ofPROMESA).
                    ■ The Oversight Board shall use reasonable best efforts to obtain PREB
                      approval and Title HI Court ordered protections for the Interest Rate
                      Covenant and Reorganized PREPA's obligations to charge, collect,
                      and pay Legacy Charge revenues as provided herein; provided,
                      however, that, for the avoidance of doubt, reasonable best efforts with
                      respect to the foregoing sentence shall include incorporating such
                      protections in the draft PREPA Confirmation Order filed with the Title
                      III Court.
     FEDERALLY-     ■ In the event of a Federally-declared disaster as a result of a storm or
      DECLARED        other catastrophic event that disrupts Reorganized PREPA's operations
      DISASTERS       such that Reorganized PREPA cannot collect Legacy Charge revenue
                      necessary to cover Operating Expenses and the debt service payable on
                      the New Bonds for a given Fiscal Year, Reorganized PREPA may
                      elect, in its sole and absolute discretion, to defer debt service for up to

                                          Page 37
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                      Desc:
                           Exhibit N Page 40 of 43



                      two (2)consecutive semi-annual debt service payments per Federally-
                      declared disaster; provided, however, that in the event that
                      Reorganized PREPA exercises such election, interest on the New
                      Bonds will continue to accrete until paid.
      PREPA         ■ The New Bonds shall be documented under an indenture or trust
     DEFINITIVE       agreement on the terms customary for transactions of this type, as
   DOCUMENTATION      reasonably acceptable to (a)the Fuel Line Lender PSA Creditors and
                     (b) National. Without limiting the foregoing, the New Bonds, when
                      issued, may be subject to an "additional bonds test" to be reasonably
                      acceptable to (a)the Fuel Line Lender PSA Creditors and (b)National.
      INSURER       ■ The Amended Plan and related documents shall include provisions
     PROVISIONS       pertaining to the treatment of monoline insurers and monoline
                      insurers' claims consistent with such provisions as set forth in the Title
                      III plans of adjustment for the Commonwealth of Puerto Rico, the
                      Puerto Rico Sales Tax Financing Corporation, and the Puerto Rico
                      Highways and Transportation Authority.
     CONTINGENT     ■ If a CVI different from the CVI in the First Amended Plan is offered to
        VALUE         other holders ofPREPA Revenue Bonds, upon the PREPA Effective
     INSTRUMENT       Date, National shall be entitled to receive a CVI on account ofthe
       (CVI)          Insured Bond Claims and a payment therefrom equal to fifty percent
                     (50%)ofthe recovery of such holders' pro rata share until such other
                      holders recover seventy-one and sixty-five one hundredths percent
                     (71.65%)oftheir PREPA Revenue Bond Claims and, thereafter, shall
                      share, on a pro rata basis, equally with such holders. For the avoidance
                      of doubt, any Series B Bonds received by other holders ofPREPA
                      Revenue Bonds from the Gross Remaining New Bonds, Net
                      Remaining New Bonds, or Excess New Bonds, as such terms are
                      defined in the Initial Plan, shall be counted towards the 71.65%
                      threshold in the preceding sentence.
      RELEASE       ■ The Parties shall release each other to the maximum extent permitted
                      by law (including for the avoidance of doubt claims against the
                      Commonwealth related to the PREPA Revenue Bonds). At the request
                      ofthe Oversight Board and in exchange for reciprocal release,
                      National shall release any other party in interest in the PREPA
                      PROMESA Case that may be liable on account of National's claims.
    EXCESS FUNDS   ■ National shall not share in excess funds, if any, including, for the
                     avoidance of doubt, the Gross Remaining New Bonds, Net Remaining
                     New Bonds, or Excess New Bonds, as provided under the Amended
                     Plan.




                                          Page 38
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00   Desc:
                           Exhibit N Page 41 of 43



                                   EXHIBIT C

                         Schedule of National Insured Bonds




                                      Page 39
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00                 Desc:
                           Exhibit N Page 42 of 43


                           SCHEDULE OF NATIONAL INSURED BONDS



                                                                        National Bond Claim
                  Issue                                 Face                Amount as of
      CUSIP       Date        Maturity   Coupon       Amount                Petition Date
7452688F2      10/3/2002      7/1/2022   5.000%        $1,535,000.00           $1,573,375.00
7452688G0      10/3/2002      7/1/2023   5.000%          1,615,000.00            1,655,375.00
74526QDB5       4/4/2005      7/1/2022   5.000%        23,560,000.00           24,149,000.00
74526QEP3       4/4/2005      7/1/2022   5.000%        22,945,000.00           23,518,625.00
74526QEQ1       4/4/2005      7/1/2022   4.125%            985,000.00            1,005,315.63
74526QDC3       4/4/2005      7/1/2023   5.000%        24,765,000.00           25,384,125.00
74526QER9       4/4/2005      7/1/2023   5.000%        25,120,000.00           25,748,000.00
74526QDD1       4/4/2005      7/1/2024   5.000%        26,035,000.00           26,685,875.00
74526QES7       4/4/2005      7/1/2024   5.000%        25,310,000.00           25,942,750.00
74526QET5       4/4/2005      7/1/2024   4.250%          1,085,000.00            1,108,056.25
74526QEU2       4/4/2005      7/1/2025   5.000%        26,180,000.00           26,834,500.00
74526QEV0       4/4/2005      7/1/2025   4.300%          1,525,000.00            1,557,787.50
74526QKM3       5/3/2007      7/1/2019   4.200%          5,000,000.00            5,105,000.00
74526QKN1       5/3/2007      7/1/2020   5.000%          1,000,000.00            1,025,000.00
74526QKP6       5/3/2007      7/1/2021   5.000%            525,000.00              538,125.00
74526QKQ4       5/3/2007      7/1/2022   5.000%          3,705,000.00            3,797,625.00
74526QKR2       5/3/2007      7/1/2023   5.000%          1,000,000.00            1,025,000.00
74526QKS0       5/3/2007      7/1/2024   5.000%          5,000,000.00            5,125,000.00
74526QKU5       5/3/2007      7/1/2026   5.000%          5,000,000.00            5,125,000.00
74526QPH9      5/30/2007      7/1/2024   5.250%        27,265,000.00           27,980,706.25
74526QPJ5      5/30/2007      7/1/2025   5.250%        28,695,000.00           29,448,243.75
74526QPK2      5/30/2007      7/1/2026   5.250%        30,200,000.00           30,992,750.00
74526QPM8      5/30/2007      7/1/2029   5.250%        68,715,000.00           70,518,768.75
74526QPN6      5/30/2007      7/1/2030   5.250%        72,365,000.00           74,264,581.25
74526QPQ9      5/30/2007      7/1/2032   5.250%        80,255,000.00           82,361,693.75
74526QPR7      5/30/2007      7/1/2033   5.250%        38,780,000.00           39,797,975.00
74526QPS5      5/30/2007      7/1/2034   5.250%        40,870,000.00           41,942,837.50
74526QPT3      5/30/2007      7/1/2035   5.250%        43,065,000.00           44,195,456.25
74526QAL6      8/19/2003      7/1/2022   5.250%        26,430,000.00           27,123,787.50
74526QAM4      8/19/2003      7/1/2023   5.250%        27,820,000.00           28,550,275.00
74526QAR3      8/19/2003      7/1/2033   4.750%        45,745,000.00           46,831,443.75
74526QCK6      8/26/2004      7/1/2022   5.000%        19,290,000.00           19,772,250.00
74526QCL4      8/26/2004      7/1/2023   5.000%        20,260,000.00           20,766,500.00
74526QCM2 '    8/26/2004      7/1/2024   5.000%        21,270,000.00           21,801,750.00
74526QCN0      8/26/2004      7/1/2025   5.000%        22,335,000.00           22,893,375.00
  Total                                              $815,250,000.00         $836,145,928.13
Case:17-03283-LTS Doc#:23507-14 Filed:02/09/23 Entered:02/09/23 17:44:00   Desc:
                           Exhibit N Page 43 of 43



                                    Exhibit D

                            Qualified Transferee Joinder




                                      Page 40
